USCA Case #25-5068               Document #2107881             Filed: 03/26/2025     Page 1 of 93
                    United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________
No. 25-5067                                                      September Term, 2024
                                                                             1:25-cv-00766-JEB
                                                             Filed On: March 26, 2025
J.G.G., et al.,

                  Appellees

        v.

Donald J. Trump, in his official capacity as
President of the United States, et al.,

                  Appellants
------------------------------

Consolidated with 25-5068

        BEFORE:          Henderson, Millett, and Walker*, Circuit Judges

                                              ORDER

        Upon consideration of the emergency motions for stay, the opposition thereto,
the reply, and the Rule 28(j) letters; the amicus brief filed by South Carolina, Virginia,
and other states; the motion to participate as amicus curiae filed by Rep. Brandon Gill
and the lodged amicus brief; and the motion for leave to participate as amicus curiae
filed by State Democracy Defenders Fund and former government officials and the
lodged amicus brief, it is

       ORDERED that the motions to participate as amicus curiae be granted. The
Clerk is directed to file the lodged amicus briefs. It is

      FURTHER ORDERED that the emergency motions for stay be denied. Separate
concurring statements of Judge Henderson and Judge Millett and a dissenting
statement of Judge Walker are attached.

                                             Per Curiam

                                                               FOR THE COURT:
                                                               Clifton B. Cislak, Clerk

                                                       BY:     /s/
                                                               Daniel J. Reidy
                                                               Deputy Clerk

* Judge Walker dissents from the denial of the emergency motions for stay.
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025       Page 2 of 93




                 KAREN LECRAFT HENDERSON, Circuit Judge, concurring
            statement:

                                   I.   BACKGROUND

                                A. Statutory Background

                 In 1798, our fledgling Republic was consumed with fear.
            Fear of external war with France. Fear of internal strife from
            her sympathizers. And, for the incumbent Federalist party, fear
            of its chief political rival: the Jeffersonian Republicans. In the
            summer of 1798, the Federalists decided to kill two birds with
            one stone. In a series of laws known as the Alien and Sedition
            Acts, the Federalists granted the administration of President
            John Adams sweeping authority to expel immigrants, gag the
            free press and rid themselves of two key pillars of Republican
            support—immigrant voters and partisan newspapers. At the
            same time, these laws would purge the country of reviled
            Jacobin sympathizers.

                 Under the first of these laws, the Alien Friends Act, the
            Congress granted the President sweeping power to detain and
            expel any alien he deemed “dangerous to the peace and safety
            of the United States.” Act of June 25, 1798, ch. 58., 1 Stat.
            570. Under the Sedition Act, the Congress made it a crime to
            “write, print, utter or publish . . . any false, scandalous and
            malicious writing or writings against” the government, the
            Congress or the President, “with intent to defame . . . or to
            bring them . . . into contempt or disrepute, or to excite against
            them . . . the hatred of the [] people.” Act of July 14, 1798, ch.
            74, 1 Stat. 596. Both laws were enacted by narrow margins,
            widely derided as unconstitutional and allowed to lapse once
            the Federalists were swept from power in the elections of 1800.
            A third law, the Alien Enemies Act, offered a wartime
            counterpart to the Alien Friends Act. That law granted the
            President the power to detain and expel enemy aliens during
            times of war, invasion or predatory incursion. See Act of July
USCA Case #25-5068      Document #2107881                 Filed: 03/26/2025    Page 3 of 93




                                             2
            6, 1798, ch. 66, 1 Stat. 577. Unlike its counterparts, the Alien
            Enemies Act was never questioned by Jefferson or Madison—
            the de facto leaders of the Republicans—“nor did either ever
            suggest its repeal.” Ludecke v. Watkins, 335 U.S. 160, 171 n.18
            (1948). On the contrary, the then-Republican minority in the
            Congress supported its enactment. Perhaps unsurprisingly, it
            is the only component of the Alien and Sedition Acts that
            remains law today.

                 The Alien Enemies Act (AEA) contains two provisions: a
            conditional clause and an operative clause. The conditional
            clause limits the AEA’s substantive authority to conflicts
            between the United States and a foreign power. Specifically,
            there must be (i) “a declared war between the United States and
            any foreign nation or government, or” (ii) an “invasion or
            predatory incursion [] perpetrated, attempted, or threatened
            against the territory of the United States by any foreign nation
            or government,” and (iii) a presidential “public proclamation
            of the event.” 50 U.S.C. § 21. If these conditions are met:

                     [A]ll natives, citizens, denizens, or subjects of
                     the hostile nation or government, being of the
                     age of fourteen years and upward, who shall be
                     within the United States and not actually
                     naturalized, shall be liable to be apprehended,
                     restrained, secured, and removed as alien
                     enemies. The President is authorized . . . to
                     direct . . . the manner and degree of the restraint
                     to which they shall be subject . . . and to provide
                     for the removal of those who, not being
                     permitted to reside within the United States,
                     refuse or neglect to depart therefrom; and to
                     establish any other regulations which are found
USCA Case #25-5068      Document #2107881                Filed: 03/26/2025       Page 4 of 93




                                            3
                     necessary in the premises and for the public
                     safety.1

            Id. Thus, the AEA vests in the President near-blanket authority
            to detain and deport any noncitizen whose affiliation traces to
            the belligerent state. A central limit to this power is the Act’s
            conditional clause—that the United States be at war or under
            invasion or predatory incursion.

                         B. Factual & Procedural Background

                 On March 15, 2025, President Donald Trump invoked his
            authority under the AEA to apprehend, detain and remove “all
            Venezuelan citizens 14 years of age or older who are members
            of [Tren de Aragua]” and who are not “naturalized or lawful
            permanent residents of the United States.” Invocation of the
            Alien Enemies Act Regarding the Invasion of the United States
            by Tren de Aragua (Proclamation), 90 Fed. Reg. 13,033 (Mar.
            14, 2025). The Proclamation rests on two key findings.

                 First, that Tren de Aragua (TdA)—a designated Foreign
            Terrorist Organization—is conducting an invasion or predatory
            incursion into the United States. As evidence of these
            hostilities, the Proclamation cites TdA’s “irregular warfare
            within the country,” including its “drug trafficking” and “mass
            illegal migration to the United States.” Id.

                 Second, that TdA is “closely aligned with, and indeed has
            infiltrated” the Venezuelan government, “including its military
            and law enforcement apparatus.” Id. As evidence of these
            connections, the Proclamation notes that TdA “grew
            significantly” while Venezuela’s Vice President was a state

                1
                  The original AEA was limited to males over the age of 14 but
            was amended during World War I to its current version. See Act of
            Apr. 16, 1918, ch. 55, 40 Stat. 531.
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025        Page 5 of 93




                                             4
            governor. Id. The Proclamation also asserts that the President
            of Venezuela, Nicholas Maduro, sponsors a “narco-terrorism
            enterprise” called Cártel de los Soles. Id. Cártel de los Soles
            in turn “coordinates with and relies on TdA and other
            organizations” to traffic illegal drugs into the United States. Id.

                 Learning of the President’s Proclamation, five
            Venezuelans in the United States filed a putative class action
            to enjoin its enforcement. They also filed an emergency
            application for a temporary restraining order (TRO), alleging
            that the plaintiffs and class faced “imminent danger of being
            removed tonight or early tomorrow morning.” Mot. for TRO,
            J.G.G. v. Trump, No. 1:25-cv-766 (D.D.C. Mar. 15, 2025),
            ECF No. 3. Given the exigencies, the district court entered an
            immediate and ex parte TRO to prevent the Executive Branch
            from deporting any of the named plaintiffs for 14 days. The
            court conducted a hearing that evening, during which it
            provisionally certified a class of plaintiffs consisting of all
            noncitizens in U.S. custody who are subject to the
            Proclamation. It also entered a second TRO to cover the class
            for a period of 14 days. The government immediately appealed
            and sought a stay of the TROs pending its appeal of those
            orders.

                                    II. JURISDICTION

                 In the ordinary course of litigation, a plaintiff obtains relief
            only if he secures a final judgment and prevails on the merits.
            Remedies come at the end—not the beginning—of a suit. But
            the world sometimes moves faster than the wheels of justice
            can turn. And waiting for a final judgment can do harm that no
            remedy can repair. For example, an election deadline may
            moot a challenge before a court can resolve the merits. E.g.,
            Ne. Ohio Coal. for Homeless & Serv. Emps. Int’l Union, Loc.
            1199 v. Blackwell, 467 F.3d 999 (6th Cir. 2006). Or a detainee
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025       Page 6 of 93




                                           5
            might face imminent expulsion before a court can resolve the
            lawfulness of his transfer. E.g., Belbacha v. Bush, 520 F.3d
            452 (D.C. Cir. 2008) (granting a temporary injunction to
            preserve jurisdiction in a Guantanamo Bay detainee case). In
            such circumstances, courts need the ability to press pause.

                 Our legal tradition recognizes this reality with various
            forms of interim relief. A plaintiff can obtain a preliminary
            injunction, which (as its name implies) is a preliminary form of
            relief meant to “preserve the status quo pending the outcome of
            litigation.” Dist. 50, United Mine Workers of Am. v. Int’l
            Union, United Mine Workers of Am., 412 F.2d 165, 168 (D.C.
            Cir. 1969). “The purpose of such interim equitable relief is not
            to conclusively determine the rights of the parties, but to
            balance the equities as the litigation moves forward.” Trump
            v. Int’l Refugee Assistance Project, 582 U.S. 571, 579–80
            (2017) (citation omitted). In other words, a preliminary
            injunction acts to shield the plaintiff “from irreparable injury”
            and to “preserve[] the trial court’s power to adjudicate the
            underlying dispute.” Select Milk Prods., Inc. v. Johanns, 400
            F.3d 939, 954 (D.C. Cir. 2005) (Henderson, J., dissenting).

                 Sometimes even a preliminary injunction will not afford
            the rapid relief necessary to prevent irreparable injury. A
            preliminary injunction requires weighty considerations, and
            those considerations must be memorialized with findings of
            fact and conclusions of law. See Fed. R. Civ. P. 52(a)(2). For
            that reason, courts may enter an even more provisional form of
            relief: a temporary restraining order. A TRO is “designed to
            preserve the status quo until there is an opportunity to hold a
            hearing on the application for a preliminary injunction.” 11A
            Charles A. Wright & Arthur R. Miller, Federal Practice and
            Procedure § 2951 (3d ed. June 2024 update). Given the
            exigencies that often accompany a TRO, a court may enter the
            order ex parte and without notice to the enjoined party. Fed.
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025       Page 7 of 93




                                            6
            R. Civ. P. 65(b)(1). But because the procedural safeguards are
            threadbare, a TRO may last for no longer than 14 days,
            although with the possibility of extension “for good cause” or
            with the consent of “the adverse party.” Fed. R. Civ.
            P. 65(b)(2).

                 TROs, unlike preliminary injunctions, are not ordinarily
            appealable. This has a “practical justification,” Dellinger v.
            Bessent, No. 25-5028, 2025 WL 559669, at *12 (D.C. Cir. Feb.
            15, 2025) (Katsas, J., dissenting)—TROs’ limited temporal
            duration means the juice is often not worth the squeeze—but
            also a formal one: appellate courts have jurisdiction to review
            “final decisions of the district courts” only, with certain narrow
            exceptions. 28 U.S.C. § 1291. One such exception is for
            “interlocutory orders . . . granting, continuing, modifying,
            refusing or dissolving injunctions, or refusing to dissolve or
            modify injunctions.” 28 U.S.C. § 1292(a)(1). That is why a
            preliminary injunction—although not final—is subject to
            appellate review. But no such exception exists for TROs. See
            Off. of Pers. Mgmt. v. Am. Fed’n of Gov’t Emps., 473 U.S.
            1301, 1303–05 (1985); Adams v. Vance, 570 F.2d 950, 953
            (D.C. Cir. 1978) (“The grant of a [TRO] . . . is generally not
            appealable.”).

                 Nevertheless, in certain limited circumstances, courts have
            treated TROs as appealable orders. A TRO that threatens truly
            “irretrievable” harm—that is, harm that cannot be rectified on
            future appellate review—may be appealed. Adams, 570 F.2d
            at 953.

                 The government asserts two theories of jurisdiction. We
            need not decide the first because the second tips this case over
            the jurisdictional line. The government argues that the TROs
            risk “scuttling delicate international negotiations” and “may []
            forever stymie[]” those negotiations if allowed to remain in
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025       Page 8 of 93




                                           7
            place “even temporarily.” Gov’t Br. 9; see also id. at 12
            (warning that “once halted, [deportations] have the significant
            potential of never resuming”). In an accompanying affidavit,
            the government alleges that it has negotiated time-sensitive
            agreements with the governments of El Salvador and
            Venezuela to accept certain Venezuelan nationals subject to the
            challenged executive order. See Kozak Decl. at 1 ¶ 2. If true,
            those allegations establish that the government risks
            irretrievable injury and thus that we may exercise appellate
            jurisdiction. Granted, the government does not specify why a
            two-week interlude would dismantle the agreements—it notes
            only that “foreign interlocutors might change their minds,” id.
            at 2 ¶ 4 (emphasis added)—but in assessing our jurisdiction,
            we assume these claims to be true. Tel-Oren v. Libyan Arab
            Republic, 726 F.2d 774, 775 (D.C. Cir. 1984) (per curiam).

                 One additional factor tips this case over the jurisdictional
            line. The district court entered two injunctions against all
            named defendants—including the President of the United
            States. Equity “has no jurisdiction . . . to enjoin the President
            in the performance of his official duties.” Mississippi v.
            Johnson, 71 U.S. (4 Wall.) 475, 501 (1867). Nor does the
            Administrative Procedure Act (APA) authorize relief against
            the President. See Dalton v. Specter, 511 U.S. 462, 469 (1994).
            Although injunctions against executive officials are routine and
            proper, “injunctive relief against the President himself is
            extraordinary, and should . . . raise[] judicial eyebrows.”
            Franklin v. Massachusetts, 505 U.S. 788, 802 (1992).
            Whatever the merits (or lack thereof) of the government’s
            claims, an injunction against the President is reason enough to
            exercise jurisdiction.
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025        Page 9 of 93




                                            8
                               III. THE STAY FACTORS

                Before granting a stay pending appeal, we consider (1) the
            applicant’s likelihood of success on the merits; (2) whether the
            applicant faces irreparable injury absent a stay; (3) whether a
            stay will substantially injure the other parties; and (4) the
            public interest. Nken v. Holder, 556 U.S. 418, 434 (2009).

                                A. Likelihood of Success

                 The government raises three arguments for why it is likely
            to succeed on the merits. First, the district court lacked
            jurisdiction to hear the case. Second, the political question
            doctrine bars consideration of the issues raised in this suit.
            Third, its conduct is lawful under the plain text of the Alien
            Enemies Act.

                          1.   The District Court’s Jurisdiction

                 The government argues that plaintiffs sued in the wrong
            venue because their habeas claims could be heard only in the
            federal district where they are detained. A habeas remedy runs
            against the immediate custodian of a detainee—“the person
            who holds [the detainee] in what is alleged to be unlawful
            custody.” Braden v. 30th Jud. Cir. Ct. of Ky., 410 U.S. 484,
            494–95 (1973). Ordinarily, the immediate custodian “is the
            warden of the facility where the prisoner is being held.”
            Rumsfeld v. Padilla, 542 U.S. 426, 435 (2004). A habeas suit
            against the custodian must be brought in the detainee’s “district
            of confinement,” which “[b]y definition” is the same district in
            which the immediate custodian resides. Id. at 444. This is the
            only district where “jurisdiction lies.” Id. at 443; see also id.
            at 434 n.7 (noting that jurisdiction has a specific meaning in the
            habeas statute); id. at 451–52 (Kennedy, J., concurring)
            (explaining the rule is “not jurisdictional in the sense of a
            limitation on subject-matter jurisdiction” but is instead “a
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025        Page 10 of 93




                                             9
             question of personal jurisdiction or venue”). The five named
             plaintiffs are currently detained at the El Valle Detention
             Center, Compl. ¶¶ 9–13, which is in the Southern District of
             Texas. For habeas relief, then, they must sue the warden of the
             Valle Detention Center in the U.S. District Court for the
             Southern District of Texas.2

                  Plaintiffs initially challenged the lawfulness of the
             Proclamation under the APA and sought various forms of
             relief, including a writ of habeas corpus. Compl. at 21. But
             they quickly abandoned their habeas claims and no longer
             contest their confinement, only their detention. Cf. Rumsfeld,
             542 U.S. at 439 (explaining that habeas’ geographic limits have
             “no application” when plaintiffs are “not challenging any
             present physical confinement”); Citizens Protective League v.
             Clark, 155 F.2d 290 (D.C. Cir. 1946) (hearing AEA challenge
             outside of habeas). The government’s second brief omits any
             discussion of proper venue and instead contains a conclusory
             assertion that the district court lacked jurisdiction because
             “these claims sound in habeas.” Gov’t Br. 1. But cf. POM
             Wonderful, LLC v. FTC, 777 F.3d 478, 499 (D.C. Cir. 2015)
             (noting that arguments made “in conclusory fashion and
             without visible support” may be deemed forfeited (quoting Bd.
             of Regents of Univ. of Wash. v. EPA, 86 F.3d 1214, 1221 (D.C.
             Cir. 1996))). Assuming habeas relief is no longer sought, I turn
             to plaintiffs’ APA claims, which again, I assume constitute
             claims they can assert thereunder.




                 2
                     Padilla reserved judgment on whether the immediate-
             custodian rule applies to “an alien detained pending deportation.”
             542 U.S. at 435 n.8.
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025        Page 11 of 93




                                            10
                            2.    The Political Question Doctrine

                          a.     The Availability of Judicial Review

                 The government argues that we may not even assess the
             lawfulness of its conduct. In its view, whether there is an
             invasion or predatory incursion—or whether an organization
             qualifies as a foreign nation or government—is a political
             question unreviewable by the courts.

                    Federal courts possess a “virtually unflagging obligation
             . . . to exercise the jurisdiction given them.” Colo. River Water
             Conservation Dist. v. United States, 424 U.S. 800, 817 (1976);
             accord Cohens v. Virginia, 19 U.S. (6 Wheat.) 264, 404 (1821)
             (Marshall, C.J.). One “limited and narrow exception” to this
             duty arises when a case presents a purely “political question.”
             Starr Int’l Co., Inc. v. United States, 910 F.3d 527, 533 (D.C.
             Cir. 2018) (citing United States v. Munoz-Flores, 495 U.S. 385
             (1990)). A case falls within the sparing ambit of the political
             question doctrine “where there is ‘a textually demonstrable
             constitutional commitment of the issue to a coordinate political
             department; or a lack of judicially discoverable and
             manageable standards for resolving it.’” Nixon v. United
             States, 506 U.S. 224, 228 (1993) (quoting Baker v. Carr, 369
             U.S. 186, 217 (1962)). It is not enough to highlight that “the
             issues have political implications,” Zivotofsky ex rel. Zivotofsky
             v. Clinton, 566 U.S. 189, 196 (2012) (quoting INS v. Chadha,
             462 U.S. 919, 943 (1983)), or that the case “lies beyond judicial
             cognizance” because it “touches foreign relations.” Baker, 369
             U.S. at 211.

                  At the outset, the government’s suggestion that judicial
             review of the Alien Enemies Act is categorically foreclosed is
             incorrect. See Gov’t Br. 14 (allowing that there could be a
             narrow sliver of questions “potentially” open to review without
             conceding the point). Nothing in the text of the AEA expressly
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025        Page 12 of 93




                                            11
             or implicitly forecloses the strong “presumption [of] judicial
             review.” Coll. of Am. Pathologists v. Heckler, 734 F.2d 859,
             862 (D.C. Cir. 1984).          That result accords with the
             understanding of the enacting legislature. In the Fifth
             Congress, supporters of the AEA insisted “persons []
             imprisoned [under the Act] would [] have the power of
             demanding a trial.” 8 Annals of Cong. 1958 (1798). And early
             practice comports with that understanding. See McGirt v.
             Oklahoma, 591 U.S. 894, 914 (2020) (explaining that early
             practice can shed light on an ambiguous statute). For example,
             during the War of 1812, the Pennsylvania Supreme Court
             entertained a habeas petition from a British resident of
             Philadelphia challenging his relocation under the AEA. See
             Lockington’s Case, Bright (N.P.) 269 (Pa. 1813); Boumediene
             v. Bush, 476 F.3d 981, 988–89 (D.C. Cir. 2007) (describing the
             case), rev’d, 553 U.S. 723 (2008). Chief Justice Marshall,
             riding circuit and sitting with St. George Tucker, ordered the
             release of an alien detained under the Act. See Gerald L.
             Neuman & Charles F. Hobson, John Marshall and the Enemy
             Alien, 9 Green Bag 2D 39, 41–42 (2005) (reproducing
             Marshall’s decision in United States v. Williams).

                             b.   The Scope of Judicial Review

                  Although these cases establish the availability of judicial
             review, they do not settle the scope of that review. The
             government asserts that the “sole question” amenable to
             judicial scrutiny is whether a detained individual is “an alien
             enemy,” Gov’t Br. 14, i.e., whether the person is a fourteen year
             or older “native[], citizen[], denizen[], or subject[]” of a
             presidentially declared hostile nation. 50 U.S.C. § 21. Any
             other AEA prerequisites are purportedly “political question[s]”
             “outside the competence of the courts.” Gov’t Br. 13.
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025        Page 13 of 93




                                            12
                  The Court does not approach this issue in an analytic
             vacuum. In Ludecke v. Watkins, the Supreme Court reviewed
             the habeas petition of a German alien detained under the AEA
             during the Second World War. 335 U.S. at 162–63. Following
             Germany’s unconditional surrender and a cessation of actual
             hostilities, the petitioner claimed that there was no longer a war
             giving rise to AEA authority. Id. at 166. Splitting 5-4, the
             Court disagreed. As it explained, a mere ceasefire does not
             conclusively resolve a war, nor do war powers subside simply
             because the “shooting stops.” Id. at 167. The mode of ending
             a war “is a political act” and courts “would be assuming the
             functions of the political agencies” to declare a war over when
             “[t]he political branch of the Government” has not. Id. at 169–
             70. The quantum of threat posed by enemy aliens during “a
             state of war [] when the guns are silent but the peace of Peace
             has not come” is a “political judgment for which judges have
             neither technical competence nor official responsibility.” Id. at
             170.

                  From Ludecke, the government draws the mistaken
             inference that all questions of AEA authority are political and
             thus beyond the scope of judicial review. But that is not what
             the Court held. In no uncertain terms, the Court said the AEA
             “preclude[s] judicial review . . . [b]arring questions of
             interpretation and constitutionality.” Id. at 163 (emphasis
             added). Questions of interpretation and constitutionality—the
             heartland of the judicial ken—are subject to judicial review.
             See Japan Whaling Ass’n v. Am. Cetacean Soc’y, 478 U.S. 221,
             230 (1986) (explaining that “a decision which calls for
             applying no more than the traditional rules of statutory
             construction” is not a political question). Indeed, the Ludecke
             Court itself engaged in interpretation, rejecting a definition of
             “the statutory phrase ‘declared war’” that would “mean ‘state
             of actual hostilities.’” Id. at 166 n.11, 170–71. Ludecke did
             not foreclose courts’ ability to interpret the AEA’s predicate
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025         Page 14 of 93




                                              13
             acts—a declared war, invasion or predatory incursion—or
             whether such conditions exist. Instead, Ludecke stands for the
             proposition that when and by what means to end that
             acknowledged war are choices “constitutional[ly] commit[ted]
             . . . to a coordinate political department.” Nixon, 506 U.S. at
             228.

                  Ludecke itself couched its holding in the line between law
             and policy and the role of the judge to only decide the former.
             The Alien Enemies Act, the Court explained, sets forth
             “conditions upon which it might be invoked” but is silent as to
             “how long the power should last when properly invoked.”
             Ludecke, 335 U.S. at 166 n.11. The petitioner did not contest
             the “propriety” of the conditional trigger—“the President’s
             Proclamation of War”—only its continued durability. Id. That
             latter question (how long the power should last) has no answer
             in the plain text of the Act. Put another way, such a question
             is lacking “judicially discoverable and manageable standards”
             and thus lies outside the judicial purview. Nixon, 506 U.S. at
             228. But conditional questions—the legal meaning of war,
             invasion and predatory incursion—are well within courts’
             bailiwick.3



                 3
                     The government also quotes Ludecke’s statement that “[t]he
             very nature of the President’s power to order the removal of all
             enemy aliens rejects the notion that courts may pass judgment upon
             the exercise of his discretion.” Id. at 164. But the Court was simply
             rejecting the argument that judicial approval was a prerequisite to
             arrest, detention or deportation. That principle had been established
             as early as the War of 1812. See Lockington v. Smith, 115 F. Cas.
             758 (C.C.D. Pa. 1817). Indeed, immediately after the Ludecke
             language the government quotes, the Court dropped a footnote
             containing a long recitation from and citation to Lockington.
             Ludecke, 335 U.S. at 164 n.7. And Lockington did not foreclose
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025         Page 15 of 93




                                              14
                   One month before the Supreme Court’s decision in
             Ludecke, this Court reviewed a nearly identical challenge
             seeking injunctive and declaratory relief against enforcement
             of the AEA. See Citizens Protective League, 155 F.2d at 290.
             The challengers similarly alleged that AEA authority lapsed
             with the cessation of hostilities with Germany. Id. at 292. We
             rejected the challengers’ war-termination argument because
             “[i]t is not for the courts to determine the end of a war declared
             by the Congress.” Id. at 295. We said no more—and no less—
             than the Supreme Court would the following month. The
             elected branches—not the unelected bench—decide when a
             war has terminated. That is a question of fact for elected
             leaders. That does not mean that courts cannot pass on the legal
             meaning of statutory terms.

                   Finally, the government cites the Ninth Circuit’s decision
             in California v. United States for the proposition that an
             invasion is a nonjusticiable political question. 104 F.3d 1086
             (9th Cir. 1997). That case is inapposite and—insofar as it
             carries any relevance—cuts directly against the government.
             There, California advanced precisely the theory the
             government claims here: that illegal immigration constitutes an
             invasion of the United States. Id. at 1090. This was part of a
             theory—advanced by several states—asserting that (i) illegal
             immigration is an invasion; (ii) the United States was derelict
             in its duties under the Guarantee Clause to repel that invasion;
             and (iii) therefore the United States should compensate the
             states and better enforce immigration laws. Id. The Ninth
             Circuit had none of it, deeming the issue a political question
             better suited to the halls of the Congress than the Article III
             bench. Id. at 1091.



             judicial review; it expressly entertained a habeas challenge and then
             rejected it on the merits. Lockington, 115 F. Cas. at 759–62.
USCA Case #25-5068      Document #2107881                   Filed: 03/26/2025          Page 16 of 93




                                               15
                   From that holding, the government draws the mistaken
             proposition that the existence vel non of an invasion is beyond
             judicial reach. That misreads California. That court rightly
             disclaimed any role “to determine that the United States has
             been ‘invaded’ when the political branches have made no such
             determination.” Id. (emphasis added). This is merely the
             inverse of the Ludecke principle: just as the courts will not
             declare a properly declared war ended until the political
             branches do so, they will not start a war on the government’s
             behalf. Neither side of the coin precludes judicial review of
             whether the Executive has properly invoked a wartime
             authority. And insofar as California has any bearing on this
             case, it is against the government. Although the court declared
             the issue a political question, it also rejected the states’
             immigration-as-invasion theory on the merits. As the court put
             it, invasion refers to “situations wherein a state is exposed to
             armed hostility from another political entity” and “was not
             intended to be used as urged by California.” Id. (citing the
             Federalist No. 43 (J. Madison)).4

                    At bottom, the government errs by “suppos[ing] that every
             case or controversy which touches foreign relations lies beyond
             judicial cognizance.” Baker, 369 U.S. at 211. Sensitive subject
             matter alone does not shroud a law from the judicial eye. Cf.
             Japan Whaling Ass’n, 478 U.S. at 230 (“As Baker plainly held,
             . . . courts have the authority to construe treaties.”). Indeed, we
             have previously considered the precise sort of question that the

                  4
                      Other circuits confronting similar claims have likewise
             concluded that declaring an invasion by judicial fiat would pervert
             the proper role of the political branches, and also that illegal
             immigration is not an “invasion.” See Padavan v. United States, 82
             F.3d 23, 28 (2d Cir. 1996) (explaining that “invasion” requires
             “armed hostility from another political entity,” which is not “the
             influx of legal and illegal aliens into” the United States); New Jersey
             v. United States, 91 F.3d 463, 468–70 (3d Cir. 1996) (same).
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025        Page 17 of 93




                                             16
             government contends we cannot. See Kaplan v. Cent. Bank of
             the Islamic Republic of Iran, 896 F.3d 501, 514, (D.C. Cir.
             2018) (reviewing whether certain conduct rises to the level of
             “an act of war within the meaning of [a] statut[e]”); Pan Am.
             World Airways, Inc. v. Aetna Cas. & Sur. Co., 505 F.2d 989,
             1015–16 (2d Cir. 1974) (assessing whether a plane’s hijacking
             was a “warlike act” or “warlike operation”). There is a “strong
             presumption” in favor of judicial review of agency action like
             that of the Department of Homeland Security here, which may
             be overcome only by “clear and convincing evidence” that the
             Congress intended to strip jurisdiction over the particular
             category of challenge. Guerrero-Lasprilla v. Barr, 589 U.S.
             221, 229–30 (2020). The government points us to no such
             textual hook. And its precedent fails to fill the gap.

                                3.   The Alien Enemies Act

                  The AEA provides that “[w]henever there is a declared
             war . . . or any invasion or predatory incursion is perpetrated,
             attempted, or threatened against the territory of the United
             States by any foreign nation or government,” its apprehension,
             detention and removal powers apply. 50 U.S.C. § 21. Quoting
             a dictionary over two-hundred years post-enactment, the
             government claims that the term “invasion” as used in the AEA
             encompasses “the arrival somewhere of people or things who
             are not wanted there.” Gov’t Br. 17 (alteration omitted)
             (quoting Invasion, Black’s Law Dictionary (12th ed. 2024)).
             The text and its original meaning say otherwise.

                                        a.   Invasion

                  Begin with the text. The term “invasion” was a legal term
             of art with a well-defined meaning at the Founding. It required
             far more than an unwanted entry; to constitute an invasion,
             there had to be hostilities. As one leading dictionary of the era
             specifies, an invasion is a “[h]ostile entrance upon the right or
USCA Case #25-5068     Document #2107881               Filed: 03/26/2025        Page 18 of 93




                                           17
             possessions of another; hostile encroachment,” such as when
             “William the Conqueror invaded England.” Samuel Johnson,
             Invasion, sense 1, A DICTIONARY OF THE ENGLISH LANGUAGE
             (4th ed. 1773). As another recounts, an invasion is a “hostile
             entrance into the possession of another; particularly the
             entrance of a hostile army into a country for the purpose of
             conquest or plunder, or the attack of a military force.” Noah
             Webster, Invasion, sense 1, AMERICAN DICTIONARY OF THE
             ENGLISH LANGUAGE (1828). And because the invasion must
             be “by any foreign nation or government,” 50 U.S.C § 21, that
             entity would be an invader—i.e., “[o]ne who enters the territory
             of another with a view to war, conquest or plunder.” Webster,
             Invader, sense 1.

                  Next, look to context. The term “invasion” appears as part
             of a list of three interrelated terms: (i) “a declared war” or
             “any” (ii) “invasion” or (iii) “predatory incursion.” The basic
             interpretive principle of noscitur a sociis counsels reading an
             ambiguous word that appears in a list of related terms in light
             of the company it keeps. See Jarecki v. G.D. Searle & Co., 367
             U.S. 303, 307 (1961). There could be a congressionally
             declared war, an invasion by the belligerent government or a
             lesser incursion into the United States. Each could trigger a
             formal change in relations between the United States and the
             hostile power under the law of nations, and, in turn, the
             relationship of America to that nation’s people.           The
             surrounding statutory context confirms as much.

                  First, the invasion must be “against the territory of the
             United States by any foreign nation or government.” 50 U.S.C.
             § 21 (emphasis added). The requirement that the “invasion” be
             conducted by a nation-state and against the United States’
             “territory” supports that the Congress was using “invasion” in
USCA Case #25-5068      Document #2107881                   Filed: 03/26/2025          Page 19 of 93




                                               18
             a military sense of the term.5 See Ex parte Bollman, 8 U.S. (4
             Cranch) 75, 131 (1807) (describing levying war against the
             United States as “a military enterprize . . . against any of the
             territories of the United States”); Wiborg v. United States, 163
             U.S. 632, 633 (1896) (explaining that a group of seamen were
             charged with preparing for a “military expedition . . . against
             the territory and dominions of a foreign prince”). Undesired
             people do not arrive against the territory. But foreign armies
             can—and as the 1798 Congress feared might—invade the
             territory of the United States.6 Second, the invasion may be
             actual, “attempted, or threatened.” 5 U.S.C. § 21. Again, when
             used in reference to hostilities among nations, an attempted or
             threatened invasion of the United States would mark a logical
             trigger for enhanced presidential authority. Third, and
             relatedly, the conditional list of triggering events—a declared
             war, invasion or predatory incursion—must be read against the
             means the Congress employed to combat the same. The AEA
             authorizes the President to restrain and remove the nationals of
             a belligerent foreign power. Such power tracks when invasion
             is considered in its military sense.

                 Finally, consider history. The Alien Enemies Act was
             enacted by the Fifth Congress amid an actual conflict—the
             Quasi-War—with France, a foreign power. War was front and

                  5
                      Invasion had a secondary meaning at the Founding that
             described “[a]n attack on the rights of another; infringement or
             violation” of “the rights of another.” Webster, Invasion, sense 2; see
             THE DECLARATION OF INDEPENDENCE para. 7 (U.S. 1776) (accusing
             the Crown of an “invasion on the rights of the people”); id. para. 8
             (returning to a military connotation of invasion). By focusing on
             territory rather than individuals or rights, the Congress made plain it
             was using the military sense of the term.
                  6
                    Although TdA and other drug cartels are reported to control
             portions of other countries, that is not the case in the United States.
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025        Page 20 of 93




                                            19
             center in the minds of the enacting legislature. A little over one
             month before enacting the AEA, the same Congress authorized
             the President to raise a standing army of 10,000 men to combat
             any French invasion. But he could do so only “in the event of
             a declaration of war against the United States, or of actual
             invasion of their territory, by a foreign power, or of imminent
             danger of such invasion.” Act of May 28, 1798, ch. 47, § 1,
             1 Stat. 558. This language bears more than a passing
             resemblance to the language of the AEA, which the Congress
             enacted a mere thirty-nine days later. In his most famous
             exposition against the Alien and Sedition Act, Madison
             explained that an “[i]nvasion is an operation of war.” James
             Madison, Report of 1800 (Jan. 7, 1800), in Founders Online
             [https://perma.cc/2D3N-N64Z]. In such times, the “law of
             nations” allowed for the expulsion of alien enemies as “an
             exercise of the power of war.” Id.

                  Debates in the Congress surrounding ratification of the
             Alien and Sedition Acts support this read. Rep. Joshua Coit of
             Connecticut warned that the United States “may very shortly
             be involved in war” against France and that the “immense
             number of French citizens in our country” could threaten the
             Republic. GORDON S. WOOD, EMPIRE OF LIBERTY 247 (2009).
             Rep. James Bayard of Delaware pushed back on critics of the
             new laws by warning of aliens who might be “likely to join the
             standard of an enemy, in case of an invasion.” 8 Annals of
             Cong. 1966 (1798). Rep. John Allen of Connecticut cautioned
             that the country could not “wait for an invasion, or threatened
             invasion” before granting the power to the President to remove
             aliens, noting that multiple European powers had fallen to
             France “by means of [alien] agents of the French nation.” Id.
             at 1578. Opponents of the Acts contested their constitutionality
             and warned that—if accepted—they could lead to the
             suspension of habeas corpus, which is allowable “in cases of
             rebellion or invasion.” Id. at 1956 (Statement of Rep. Albert
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025         Page 21 of 93




                                              20
             Gallatin of Pennsylvania) (citing U.S. Const. art. I., § 9, cl. 2)
             (emphasis added). Supporters disputed that any suspension
             would occur, id. at 1958, but did not dispute that the AEA drew
             on wartime powers. On the contrary, they invoked, among
             other authority, the Congress’s “power . . . of providing for the
             common defence,” id. at 1959 (statement of Rep. Gray Otis of
             Massachusetts) and the President’s “powers which [he] already
             possesses, as Commander-in-Chief.” Id. at 1791.7

                  This should come as no surprise. The term “invasion” was
             well known to the Fifth Congress and the American public
             circa 1798. The phrase echoes throughout the Constitution
             ratified by the people just nine years before. And in every
             instance, it is used in a military sense. For example, the
             Guarantee Clause provides that “[t]he United States shall . . .
             protect each [State] against Invasion; and on Application of the
             Legislature, or of the Executive (when the Legislature cannot
             be convened) against domestic Violence.” U.S. Const. art. IV,
             § 4. The clause is a federal guarantee to the states against
             attack from without (invasion) or within (insurrection). In
             describing the clause, the Federalist Papers refer to invasion
             and domestic violence as “bloody” affairs involving “military
             talents and experience” and “an appeal to the sword.” The
             Federalist No. 44 (J. Madison). To effectuate the guarantee,
             the Congress has power “[t]o provide for calling forth the
             Militia to . . . suppress Insurrections and repel Invasions.” U.S.
             Const. art. I, § 8, cl. 15. Again, to use military force against
             invasion. During these exigent times of hostilities—“in Cases
             of Rebellion or Invasion”—the Congress may suspend “The

                 7
                     Although “legislative history is not the law,” Azar v. Allina
             Health Servs., 587 U.S. 566, 579 (2019), it can provide some
             probative evidence of the original public meaning of the text. And
             here, congressional debates squarely accord with the plain meaning
             of the text in context and are thus “extra icing on a cake already
             frosted.” Van Buren v. United States, 593 U.S. 374, 394 (2021).
USCA Case #25-5068      Document #2107881                 Filed: 03/26/2025         Page 22 of 93




                                             21
             Privilege of the Writ of Habeas Corpus . . . when . . . the public
             Safety may require it.” Id. art. I, § 9, cl. 2. Finally, if the
             federal guarantee fails, a state may exercise its Article I power
             to “engage in War” but only if “actually invaded, or in such
             imminent Danger as will not admit of delay.” Id. art. I, § 10,
             cl. 3. When the Constitution repeats a phrase across multiple
             clauses—and the early Congresses echo that phrase in statute—
             it is a strong signal that the text should be read in pari materia.
             See 2B Shambie Singer & Norman J. Singer, Sutherland
             Statutes & Statutory Construction (7th ed. Nov. 2024 update)
             § 51:1–3; Akhil Reed Amar, Intratextualism, 112 Harv. L. Rev.
             747, 788–91 (1999). The theme that rings true is that an
             invasion is a military affair, not one of migration.

                  What evidence does the government muster against the
             weight of this evidence? It marshals a lone contemporary
             dictionary and then plucks the third-order usage of the term
             after skipping over its (still) more common military meaning.
             See Gov’t Br. 17 (citing Invasion, sense 3, Black’s Law
             Dictionary (12th ed. 2024)). But see id., sense 1 (“[a] military
             force’s hostile entry into a country or territory”); cf. District of
             Columbia v. Heller, 554 U.S. 570, 577 (2008) (“Normal
             meaning . . . excludes secret or technical meanings that would
             not have been known to ordinary citizens in the founding
             generation.”).

                                   b.   Predatory Incursion

                  The government finds no safer refuge in the alternative
             “predatory incursion.” The government defines the term as
             “(1) an entry into the United States, (2) for purposes contrary
             to the interests or laws of the United States.” Gov’t Br. 18.
             And it explains that illegal immigration and drug trafficking
             readily qualify under that standard. As before, the government
             misreads the text, context and history. An incursion is a lesser
USCA Case #25-5068      Document #2107881                 Filed: 03/26/2025         Page 23 of 93




                                             22
             form of invasion; an “[a]ttack” or “[i]nvasion without
             conquest.” Samuel Johnson, Incursion, senses 1 & 2, A
             DICTIONARY OF THE ENGLISH LANGUAGE (4th ed. 1773). Its
             predatory nature includes a “[p]lundering,” such as the
             “predatory war made by Scotland.” Id., Predatory, sense 1.
             Secretary of State Thomas Pickering used the term to describe
             a lesser form of attack that France could conduct against the
             U.S. and which, in his view, could be repelled by the militia.
             See Letter from Thomas Pickering to Alexander Hamilton
             (June 9, 1798), in Founders Online [https://perma.cc/VD5M-
             QSNA]. This was raised in contradistinction to a full invasion,
             which would require an army. Id. Rep. Otis likewise described
             a predatory incursion as a lesser form of invasion or war. 8
             Annals of Cong. 1791 (1798). Early American caselaw sounds
             a similar theme: incursions referred to violent conflict.
             Alexander Dallas, appearing before the Marshall Court,
             described “predatory incursions of the Indians” onto
             Pennsylvania’s frontier, which had led to “an Indian war.”
             Huidekoper’s Lessee v. Douglass, 7 U.S. (3 Cranch) 1, 11
             (1805).8 Chief Justice Marshall referred to “incursions of
             hostile Indians,” which involved “constant scenes of killings
             and scalping,” and led to a retaliatory “war of extermination.”
             Cherokee Nation v. Georgia, 30 U.S. (5 Pet.) 1, 10 (1831);
             accord Worcester v. Georgia, 31 U.S. (6 Pet.) 515, 545 (1832)
             (explaining that Pennsylvania’s royal charter included “the
             power of war” to repel “incursions” by “barbarous nations”).
             Like its statutory counterparts, predatory incursion referred to
             a form of hostilities against the United States by another nation-



                 8
                      Alexander Dallas was a lawyer and the first reporter of
             Supreme Court decisions responsible for the “Dallas” series. He
             later served as Secretary of the Commonwealth of Pennsylvania,
             U.S. attorney for the Eastern District of Pennsylvania and Secretary
             of the Treasury.
USCA Case #25-5068      Document #2107881                Filed: 03/26/2025         Page 24 of 93




                                             23
             state, a form of attack short of war. Migration alone did not
             suffice.

                                   4.   Issues Not Decided

                   Preliminary relief is not simply a fast track to the merits.
             Because the Supreme Court has instructed that likelihood of
             success on the merits is among “the most critical” factors, the
             parties’ underlying dispute must be addressed. Nken, 556 U.S.
             at 434. Had the government shown a likelihood of success on
             any of the three issues above, it would have prevailed on the
             first factor. Two of the three issues discussed go to jurisdiction
             and all present purely legal questions amenable to a provisional
             peek at the merits. The multitude of outstanding issues raised
             by the parties are more amenable to resolution by the district
             court on remand than this Court on expedited review. It bears
             emphasis what we are not deciding.

                 First, the analysis supra III.A.1–3 represents a preliminary
             view of the merits. The government remains free to muster
             additional evidence and arguments. But on the record
             presented, the government has yet to show a strong likelihood
             of prevailing. That is not “in any sense intended as a final
             decision” or meant to “intimate [a] view as to the ultimate
             merits.” Brown v. Chote, 411 U.S. 452, 456–57 (1973)
             (describing the role of preliminary rulings); Univ. of Texas v.
             Camenisch, 451 U.S. 390, 394 (1982) (emphasizing that it
             would be error to “improperly equate[] ‘likelihood of success’
             with ‘success.’”). Just as plaintiffs’ TRO does not signal that
             they are “absolutely certain” to prevail, Wash. Metro. Area
             Transit Comm’n v. Holiday Tours, Inc., 559 F.2d 841, 844
             (D.C. Cir. 1977), neither the district court nor the parties should
             attempt to imbue this opinion with an aura of finality.

                 Second, I do not pass on whether TdA has conducted an
             “invasion or predatory incursion” “against the territory of the
USCA Case #25-5068      Document #2107881                Filed: 03/26/2025         Page 25 of 93




                                             24
             United States.” 50 U.S.C. § 21. The government will have
             ample opportunity to prove its case and its evidence should be
             afforded the requisite deference due the President’s national
             security judgments. See, e.g., Holder v. Humanitarian L.
             Project, 561 U.S. 1, 36 (2010) (recognizing that the
             government’s judgment in “sensitive [areas of] national
             security and foreign affairs” “is entitled to significant weight”);
             Trump v. Hawaii, 585 U.S. 667, 704 (2018) (noting the
             “constrained” nature of judicial “inquiry into matters of . . .
             national security”).

                  Third, I offer no view on whether TdA’s conduct is
             “perpetrated, attempted, or threatened . . . by a[] foreign nation
             or government.” 50 U.S.C. § 21 (emphasis added). The
             Proclamation claims that TdA “is closely aligned with, and []
             has infiltrated” the Venezuelan state such that it is a “hybrid
             criminal state.” This issue raises disputed questions of
             sovereignty, authority and control that turn as much on
             contested facts as they do legal conclusions. Ours is a court of
             review, not first view; such issues are appropriately left to the
             district court in the first instance.

                  Finally, plaintiffs contend that the Immigration and
             Nationality Act (INA)’s procedures are the “exclusive
             procedure” for removal and thus eclipse any contrary authority
             in the AEA. Pl. Br. 24 (quoting 8 U.S.C. § 1229a(a)(3)). This
             claim, however, speaks more to plaintiffs’ likelihood of success
             on the merits than the government’s. And although it is a
             primarily legal question, it is one we need not—and therefore
             ought not—decide in this nascent posture.

                         B. Balance of Harms & Public Interest

                 The harm to the government and the public interest factor
             “merge” when the government is seeking a stay, so they are
             considered together. Nken, 556 U.S. at 435. The government
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025        Page 26 of 93




                                            25
             spends almost all of its brief arguing the merits. As explained,
             the central purpose of preliminary relief—whether at the trial
             level or the appellate level—is to prevent irreparable injury, not
             to short-circuit the normal course of litigation. The equities
             thus loom large in this early posture. Yet the only mention of
             irreparable injury in the government’s brief is to deny that
             plaintiffs’ injury is irreparable. See Gov’t Br. 12–13. Although
             plaintiffs must show irreparable injury to secure an injunction,
             it is now the defendant who—seeking relief from an injunction
             so obtained—must show irreparable injury absent a stay of the
             injunction. See Nken, 556 U.S. at 434 (requiring a stay
             applicant to show “irreparabl[e] injur[y] absent a stay”).
             Insofar as the argument is preserved, it is unavailing.

                 The government warns that “delayed removal may be
             removal denied.” Gov’t Br. 12 (emphasis added). Equity will
             not act “against something merely feared as liable to occur at
             some indefinite time.” Connecticut v. Massachusetts, 282 U.S.
             660, 674 (1931); see also Murthy v. Missouri, 144 S. Ct. 7, 9
             (2023) (Alito, J., with Thomas and Gorsuch, JJ., dissenting
             from grant of application for stay) (“[S]peculation does not
             establish irreparable harm.”); Singh v. Berger, 56 F.4th 88, 97
             (D.C. Cir. 2022) (explaining that “the [government] must
             demonstrate the specific harm that ‘would’—not could—result
             from” denying a stay).

                 Next, the government claims that the TROs “impede the
             President from using his constitutional and statutory authority
             to address a predatory invasion by a hostile group.” Gov’t
             Reply 13. The President’s inherent constitutional authority is
             not the subject of the TRO and the burden on his statutory
             powers under the AEA is limited. The district court’s
             injunction covers only deportation. The President may arrest
             and detain purported enemy aliens under the Proclamation
             without violating that order. Insofar as exigent circumstances
USCA Case #25-5068      Document #2107881                 Filed: 03/26/2025         Page 27 of 93




                                             26
             require prompt deportation, the President can tap his
             substantial authorities under the INA to do so. Finally, the
             TRO expires in just a few days. The government has not
             explained why its purported harms rise or fall on a few days’
             delay.

                  The Executive’s burdens are comparatively modest
             compared to the plaintiffs’. Lifting the injunctions risks exiling
             plaintiffs to a land that is not their country of origin. See J.G.G.
             v. Trump, 1:25-cv-766 (D.D.C. Mar. 16, 2025), ECF Nos. 19,
             21 (informing the district court that Venezuelan members of
             the plaintiff class were deported to El Salvador). Indeed, at
             oral argument before this Court, the government in no
             uncertain terms conveyed that—were the injunction lifted—it
             would immediately begin deporting plaintiffs without notice.
             Plaintiffs allege that the government has renditioned innocent
             foreign nationals in its pursuit against TdA. For example, one
             plaintiff alleges that he suffered brutal torture with “electric
             shocks and suffocation” for demonstrating against the
             Venezuelan regime. Id. (D.D.C. Mar. 19, 2025), ECF No. 44-
             5 ¶ 2. While awaiting adjudication of his asylum claim, he was
             expelled to “El Salvador with no notice to counsel or family”
             based on a misinterpretation of a soccer tattoo. Id. ¶¶ 5–7. To
             date, his family and counsel have “lost all contact” and “have
             no information regarding his whereabouts or condition.” Id.
             ¶ 10. The government concedes it “lack[s] a complete profile”
             or even “specific information about each individual” it has
             targeted for summary removal. Id. (D.D.C. Mar. 17, 2025),
             ECF No. 26-1 ¶ 9.

                  There is a “public interest in preventing aliens from being
             wrongfully removed, particularly to countries where they are
             likely to face substantial harm.” Nken, 556 U.S. at 436. The
             government’s response to this interest is that “removal . . . is
             not categorically irreparable.” Gov’t Br. 12 (quoting Nken, 556
USCA Case #25-5068      Document #2107881                Filed: 03/26/2025         Page 28 of 93




                                             27
             U.S. at 435). But in this procedural posture, it is not plaintiffs’
             burden to prove irreparable injury; it is the government’s. We
             must consider whether a stay will “substantially injure”
             plaintiffs. Nken, 556 U.S. at 434. And Nken emphatically
             states that “removal is a serious burden for many aliens.” Id.
             at 435.

                 For these reasons, the government has not met its burden
             to obtain the “extraordinary remedy” of staying the district
             court’s injunctions. KalshiEX LLC v. CFTC, 119 F.4th 58, 63
             (D.C. Cir. 2024) (cleaned up).

                                   C. The Scope of Relief

                  Even if we decline to stay the district court’s injunctions,
             the government contends that we should narrow their scope. In
             its view, the lower court entered an “unconstitutional”
             “universal TRO.” Gov’t Br. 20; Gov’t Reply 15–16. Universal
             injunctions “ha[ve] significantly stretched the traditional
             equitable powers of Article III courts.” Indus. Energy
             Consumers of Am. v. FERC, 125 F.4th 1156, 1168 (D.C. Cir.
             2025) (Henderson, J., concurring). Even if universal relief is
             constitutionally sound—and there are reasons to believe it is
             not—courts should be particularly wary before entering “an
             injunction that bar[s] the Government from enforcing the
             President’s Proclamation against anyone” given the “toll on the
             federal system . . . and for the Executive Branch.” Hawaii, 585
             U.S. at 713 (Thomas, J., concurring). But what the district
             court did here was not a universal injunction—i.e., it did not
             enter relief that goes beyond the parties to the suit. Instead, the
             court followed the Rules of Civil Procedure and certified a
             class—a class that will be bound by an unfavorable judgment
             just as much as by a favorable one. See Indus. Energy
             Consumers of Am., 125 F.4th at 1169 (Henderson, J.,
             concurring) (pointing to class actions as a procedurally proper
USCA Case #25-5068        Document #2107881                    Filed: 03/26/2025           Page 29 of 93




                                                 28
             way to afford relief to a disparate class); Samuel Bray, Multiple
             Chancellors: Reforming the National Injunction, 131 Harv. L.
             Rev. 418, 475 (2017) (describing class actions as the “obvious
             answer” to the problems universal injunctions seek to
             address).9

                  Although the injunctions’ breadth is permissible as to the
             plaintiffs, it is not as to all defendants. Specifically, the district
             court’s TROs enjoin the President of the United States himself.
             At common law, the Chancellor could not grant “any relief
             against the king, or direct any act to be done by him.” 3
             William Blackstone, Commentaries on the Laws of England
             428. This historic limitation carries forward to today and strips
             the federal courts of equitable “jurisdiction . . . to enjoin the
             President in the performance of his official duties.” Johnson,
             71 U.S. at 501. Separation of powers concerns pose an
             independent bar. We can no more “direct the President to take
             a specific executive act” than we can compel the “Congress to
             perform particular legislative duties.” Franklin, 505 U.S. at
             829 (Scalia, J., concurring in part and concurring in the
             judgment). However, the government has not sought to lift the
             injunction as to the President alone. We do not ordinarily
             dispense “relief that a party failed to clearly articulate in its
             briefs.” In re Kellogg Brown & Root, Inc., 756 F.3d 754, 763
             (D.C. Cir. 2014). I decline to do so sua sponte today. On
             remand, the district court should modify its TROs to exclude
             the President from their scope.

                                             *    *    *

                  At this early stage, the government has yet to show a
             likelihood of success on the merits. The equities favor the
             plaintiffs. And the district court entered the TROs for a
             quintessentially valid purpose: to protect its remedial authority
                  9
                      I do not pass on the class action “fit” of the plaintiffs’ claims.
USCA Case #25-5068     Document #2107881               Filed: 03/26/2025       Page 30 of 93




                                           29
             long enough to consider the parties’ arguments. Accordingly,
             and for the foregoing reasons, the request to stay the district
             court’s TROs should be denied.
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025        Page 31 of 93




                  MILLETT, Circuit Judge, concurring: “The government of
             the United States has been emphatically termed a government
             of laws, and not of men” and women. Marbury v. Madison, 5
             U.S. 137, 163 (1803). This means that the United States
             government adheres faithfully to the Constitution’s
             requirements and duly enacted laws. Any government can hew
             to a legal path when dealing with easy and workaday matters
             of governance. The true mark of this great Nation under law is
             that we adhere to legal requirements even when it is hard, even
             when important national interests are at stake, and even when
             the claimant may be unpopular. For if the government can
             choose to abandon fair and equal process for some people, it
             can do the same for everyone.

                  In this appeal, the government seeks exceptional
             emergency relief from temporary restraining orders that do just
             one thing—prevent the summary removal of Venezuelan
             immigrants to a notorious prison in El Salvador or other
             unknown locations without first affording them some
             semblance of due process to contest the legal and factual bases
             for removal. Plaintiffs are Venezuelan immigrants who the
             government claims are members of a violent criminal gang
             known as Tren de Aragua. In the government’s view, based on
             its allegation alone, Plaintiffs can be removed immediately
             with no notice, no hearing, no opportunity—zero process—to
             show that they are not members of the gang, to contest their
             eligibility for removal under the law, or to invoke legal
             protections against being sent to a place where it appears likely
             they will be tortured and their lives endangered.

                  The district court has been handling this matter with great
             expedition and circumspection, and its orders do nothing more
             than freeze the status quo until weighty and unprecedented
             legal issues can be addressed through a soon-forthcoming
             preliminary injunction proceeding.          There is neither
             jurisdiction nor reason for this court to interfere at this very
             preliminary stage or to allow the government to singlehandedly
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025        Page 32 of 93




                                            2
             moot the Plaintiffs’ claims by immediately removing them
             beyond the reach of their lawyers or the court. See Oral Arg.
             1:44:39-1:46:23, J.G.G. v. Trump, 25-5067 (D.C. Cir. 2025),
             https://perma.cc/LB7B-7UFN (J. Millett: “My question is, if
             we were to grant the relief you request, would the government
             consider it necessary to allow time to file a habeas petition
             before removing people? * * * [Is it] the government’s position
             that it could immediately resume mass removals of the five
             named Plaintiffs and the class members, immediately?
             Government: “Your Honor, * * * we take the position that the
             AEA does not require notice * * * [and] the government
             believes there would not be a limitation [on removal.]”). The
             Constitution’s demand of due process cannot be so easily
             thrown aside.

                 For those reasons I agree with the judgment denying the
             government’s motions for stays in this case.

                                            I

                 This case arises at the intersection of the Due Process
             Clause of the Constitution, U.S. CONST. Amend. V, and the
             Alien Enemies Act of 1798, 50 U.S.C. §§ 21-24.

                                            A

                  The Fifth Amendment to the Constitution provides, as
             relevant here, that “[n]o person shall * * * be deprived of life,
             liberty, or property without due process of law.” U.S. CONST.
             Amend. V. The “persons[s]” protected by that foundational
             guarantee include all persons present in the United States, the
             law-abiding as well as those who violate the law, the immigrant
             without documentation as well as the citizen. See Reno v.
             Flores, 507 U.S. 292, 306 (1993) (“It is well established that
             the Fifth Amendment entitles aliens to due process of law in
USCA Case #25-5068      Document #2107881                Filed: 03/26/2025         Page 33 of 93




                                             3
             deportation proceedings.”) (citing The Japanese Immigrant
             Case, 189 U.S. 86, 100-101 (1903)).

                  While the Due Process Clause’s coverage is broad, the
             amount of process due can vary based on the nature and context
             of the governmental intrusion. See Morrissey v. Brewer, 408
             U.S. 471, 481 (1972) (“Once it is determined that due process
             applies, the question remains what process is due. * * *
             Consideration of what procedures due process may require
             under any given set of circumstances must begin with a
             determination of the precise nature of the government function
             involved as well as of the private interest that has been affected
             by governmental action.”) (internal citation and quotation
             marks omitted); Snyder v. Massachusetts, 291 U.S. 97, 116-
             117 (1934) (“Due process of law requires that the proceedings
             shall be fair, but fairness is a relative, not an absolute concept.
             * * * What is fair in one set of circumstances may be an act of
             tyranny in others.”).

                  At its most basic, due process requires notice of adverse
             governmental action, an opportunity to be heard, and the right
             to an unbiased decisionmaker. See Mathews v. Eldridge, 424
             U.S. 319, 333 (1976) (“The fundamental requirement of due
             process is the opportunity to be heard ‘at a meaningful time and
             in a meaningful manner.’”) (quoting Armstrong v. Manzo, 380
             U.S. 545, 552 (1965)); Mullane v. Cent. Hanover Bank & Trust
             Co., 339 U.S. 306, 313 (1950) (“Many controversies have
             raged about the cryptic and abstract words of the Due Process
             Clause but there can be no doubt that at a minimum they require
             that deprivation of life, liberty or property by adjudication be
             preceded by notice and opportunity for hearing appropriate to
             the nature of the case.”); Tumey v. State of Ohio, 273 U.S. 510,
             523 (1927) (Due process is violated when the decision maker
             has a “direct” and “substantial” interest “in reaching a
             conclusion against” the defendant.).
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025        Page 34 of 93




                                            4

                  In the specific context of immigration, Congress has
             enacted a comprehensive legal regime providing due process
             to those who the government alleges are unlawfully present in
             the United States. The Immigration and Nationality Act
             provides “the sole and exclusive procedure for determining
             whether an alien may be * * * removed from the United
             States.” 8 U.S.C. § 1229a(a)(3). Under that Act, noncitizens
             are entitled to “apply for asylum” if they can “establish that
             race, religion, nationality, membership in a particular social
             group, or political opinion was or will be at least one central
             reason for [their] persecution” in the country of their
             nationality. Id. § 1158(a)(1), (b)(1)(B)(i). They also can seek
             “withholding of removal” to a country where it is more likely
             than not that they would face persecution. See id. § 1231(b)(3).
             In addition, the United States is a signatory to the Convention
             Against Torture and so is obligated not to return individuals to
             a country where they more likely than not would be tortured.
             See id. § 1231 note.

                  To protect the Nation’s safety and security, Congress
             enacted special expedited removal proceedings for noncitizens
             who have been convicted of committing aggravated felonies, 8
             U.S.C. § 1228(a), or are deemed to be “alien terrorist[s,]” id.
             § 1533(c)(2)(B). Even those expedited proceedings allow for
             notice and an opportunity to be heard before a neutral
             decisionmaker. Id. § 1229 (“In removal proceedings * * *
             written notice * * *shall be given in person to the alien * * *
             specifying * * * [t]he time and place at which the proceedings
             will be held.”); id. § 1534(b)-(c) (“An alien who is the subject
             of a removal hearing under this subchapter shall be given
             reasonable notice of the nature of the charges * * * and the time
             and place at which the hearing will be held[.] * * * The alien
             shall have a right to be present at such hearing[.]”).
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025        Page 35 of 93




                                            5




                                            B

                 The Alien Enemies Act (“AEA”) allows the President to
             “apprehend[], restrain[], secure[], and remove[]” “alien
             enemies” whenever “there is a declared war between the
             United States and any foreign nation or government, or any
             invasion or predatory incursion” into the United States. 50
             U.S.C. § 21. Alien enemies are “natives, citizens, denizens, or
             subjects of the hostile nation or government, being of the age
             of fourteen years and upward” who are “not actually
             naturalized[.]” Id.

                  If there has been no formal declaration of war by Congress,
             the President must make a “public proclamation[,]” 50 U.S.C.
             § 21, and “allow[]” enemy aliens a “reasonable time” to
             comply with the proclamation’s orders, id. § 22. The only
             exception is for enemy aliens “chargeable with actual hostility,
             or other crime against the public safety[.]” Id.

                 Under the AEA, when a “complaint against” an “alien
             enemy resident” is presented to a court of the United States, the
             court’s “duty” is to provide “a full examination and hearing on
             such complaint” and to decide whether there is “sufficient
             cause” to have that person removed or otherwise detained. 50
             U.S.C. § 23.

                  The AEA was one of several measures known as the Alien
             and Sedition Acts passed in 1798 when the United States feared
             that France was planning a military invasion. STANLEY ELKINS
             & ERIC MCKITRICK, THE AGE OF FEDERALISM 588-591 (1993).
             The original version of the law was introduced by pro-war
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025        Page 36 of 93




                                            6
             Federalists and it would have required federal courts to simply
             fall in line and enforce the President’s order:

                 [A]ll Justices and Judges of the Courts of the United
                 States * * * shall be * * * required to discharge,
                 enforce, and execute the duties and authorities which
                 shall be incumbent upon them respectively, by virtue
                 of the rules and directions which, in any proclamation
                 or other public act, the President of the United States
                 shall and may make[.]

             8 ANNALS OF CONG. 1786 (1798).

                  That language received prompt opposition from
             Republicans who strongly resisted its effort to make judges “be
             obedient to the will of the President” rather than “being
             obedient to the laws.” 8 ANNALS OF CONG. 1789 (1798)
             (statement of Rep. Gallatin). As Representative Gallatin
             summarized the problem, “the whole of the bill might as well
             be in two or three words, viz: ‘The President of the United
             States shall have the power to remove, restrict, or confine alien
             enemies and citizens whom he may consider as suspected
             persons.’” Id.

                   That original version of the Act was quickly rejected.
             Congress enacted instead the provision now codified at 50
             U.S.C. § 23, in which courts, when presented with a case, are
             to undertake an independent examination of the asserted
             authority to remove a person under the Act. An Act Respecting
             Alien Enemies, ch. 66, § 3, 1 Stat. 578 (1798).             As
             Representative Gordon explained, the AEA as amended would
             not violate “habeas corpus” because “[t]here is nothing in this
             bill to prevent a person from being brought before a Judge.” 8
             ANNALS OF CONG. 1985 (1798); see id. at 2026 (statement of
             Rep. Harper) (“Every man seized under this law, will have a
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025          Page 37 of 93




                                               7
             right to sue out a writ of habeas corpus, and if it appear that he
             is a citizen, he must be discharged.”); id. at 1967 (statement of
             Rep. Bayard) (“This bill provides only for the arrestation of
             persons in certain cases, and it will be competent for every
             person so arrested to obtain a writ of habeas corpus.”). 1

                  As James Madison explained, the AEA was passed based
             on Congress’s “power to declare war” and was in accord with
             “the law of nations.” The Report of 1800. The Supreme Court
             subsequently agreed with Madison’s assessment, holding that
             the AEA is a constitutional exercise of congressional authority
             to “vest[] the President” with a “war power” to manage alien
             enemies during the “shooting war” and an appropriate period
             thereafter. Ludecke v. Watkins, 335 U.S. 160, 165 (1948).

                 Before now, the AEA has been invoked only three times
             during the nation’s history: the War of 1812, World War I, and
             World War II. See Lockington v. Smith, 15 F. Cas. 758, 758-
             759 (C.C.D. Pa. 1817) (discussing the War of 1812
                  1
                    The AEA’s counterpart was the Alien Friends Act, which gave
             the President authority to remove “all such aliens as he shall judge
             dangerous to the peace and safety” regardless of whether there was a
             declared war or invasion. An Act Concerning Aliens, ch. 58, § 1, 1
             Stat. 571 (1798). Many considered the Alien Friends Act
             unconstitutional because it gave the President unreviewable
             discretion to remove noncitizens. See GORDON WOOD, EMPIRE OF
             LIBERTY 249-250 (2009). James Madison argued that the Alien
             Friends Act was unlawful because it did not allow for “the benefits
             of a fair trial[.]” James Madison, The Report of 1800 (Jan. 7, 1800),
             https://perma.cc/K564-KQND. Thomas Jefferson also concluded
             that the Alien Friends Act was contrary to law because it violated the
             right to “due process[.]” Kentucky General Assembly, Resolutions
             Adopted by the Kentucky General Assembly (Nov. 10, 1798),
             https://perma.cc/7JL4-N86T. No one was ever removed under the
             Alien Friends Act and it expired in 1800. AGE OF FEDERALISM, at
             591-592.
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025         Page 38 of 93




                                              8
             proclamation); Proclamation, 40 Stat. 1651 (1917) (World War
             I); Proclamation: Alien Enemies—Japanese, 6 Fed. Reg. 6,321
             (Dec. 10, 1941) (World War II). 2

                  Judicial review has always been available to noncitizens
             detained or removed under the AEA. During the War of 1812,
             Chief Justice John Marshall and federal District Judge St.
             George Tucker ordered a British subject released because the
             local marshal had acted beyond his delegated authority by
             detaining the plaintiff without proper notice. See Gerald
             Neuman & Charles Hobson, John Marshall and the Enemy
             Alien, 9 GREEN BAG 39, 41-43 (2005) (describing the
             unreported case of United States v. Thomas Williams (C.C.D.
             Va. 1813)). The Pennsylvania Supreme Court later agreed with
             the Chief Justice that those subject to the AEA are entitled to
             judicial review. Lockington’s Case, Bright (N.P.) 269, 273,
             285 (Pa. 1813).

                  These early cases set a precedent followed during the
             twentieth century. Review was available during World War I,
             see, e.g., Ex parte Gilroy, 257 F. 110, 114 (S.D.N.Y. 1919), as
             well as World War II, e.g., Ludecke v. Watkins, 335 U.S. 160,
             172 (1948) (“[H]earings are utilized by the Executive to secure
             an informed basis for the exercise of summary power[.]”).
             Indeed, during World War II, a former “member of the Nazi
             Party” not only received a hearing on his eligibility for
             removal, but also had his case heard by the Supreme Court.
             Ludecke, 335 U.S. at 162 n.3.




                 2
                   The AEA has been amended once when, during World War I,
             language clarified that it applied to both men and women. An Act to
             amend section four thousand and sixty-seven of the Revised Statutes
             by extending its scope to include women, ch. 55, 40 Stat. 531 (1918).
USCA Case #25-5068      Document #2107881                Filed: 03/26/2025         Page 39 of 93




                                             9
                  As the court in Gilroy explained, “[v]ital as is the necessity
             in time of war not to hamper acts of the executive in the defense
             of the nation and in the prosecution of the war, of equal and
             perhaps greater importance, is the preservation of
             constitutional rights.” 257 F. 110 at 114.

                                             II

                                             A

                 Tren de Aragua (“TdA”) is a violent transnational criminal
             organization based in Venezuela.          See United States
             Department of State, Designation of International Cartels,
             (Feb. 20, 2025), https://perma.cc/XJ7F-GY8U. The State
             Department designated TdA a foreign terrorist organization on
             February 20, 2025. See id.

                  Although not publicly disclosed at the time, on March 14,
             2025, President Trump signed a Proclamation invoking the
             Alien Enemies Act in response to “the Invasion of the United
             States by Tren De Aragua.” See Invocation of the Alien
             Enemies Act Regarding the Invasion of the United States by
             Tren De Aragua, 90 Fed. Reg. 13033 (Mar. 14, 2025). The
             Proclamation was not released publicly until March 15, 2025,
             at 3:53 pm ET. See id; ECF No. 28-1 (Cerna Decl.) ¶ 5. 3

                  The Proclamation “find[s] and declare[s] that TdA is
             perpetrating, attempting, and threatening an invasion or
             predatory incursion against the territory of the United States[,]”
             and that “TdA is undertaking hostile actions and conducting
             irregular warfare against the territory of the United States both
             directly and at the direction, clandestine or otherwise, of the

                 3
                    All ECF documents refer to the district court docket in this
             case, J.G.G. v. Trump, No. 25-cv-766 (D.D.C. Mar. 18, 2025).
USCA Case #25-5068     Document #2107881               Filed: 03/26/2025        Page 40 of 93




                                           10
             Maduro regime in Venezuela.” Proclamation § 1. Based on
             these findings, the Proclamation provides that “all Venezuelan
             citizens 14 years of age or older who are members of TdA, are
             within the United States, and are not actually naturalized or
             lawful permanent residents of the United States are liable to be
             apprehended, restrained, secured, and removed as Alien
             Enemies.” Proclamation § 1. The Proclamation further
             “direct[s] that all Alien Enemies described in * * * th[e]
             proclamation are subject to immediate apprehension,
             detention, and removal, and further that they shall not be
             permitted residence in the United States.” Proclamation § 3.
             The Proclamation directs the Attorney General and the
             Secretary of Homeland Security to execute these directives.
             Proclamation § 4.

                  The Proclamation does not establish any process by which
             individuals are given notice of the government’s determination
             that they meet the Proclamation’s criteria and are therefore
             removable to a country of the government’s choosing. Nor
             does the Proclamation establish any process by which
             individuals may challenge the government’s determination that
             they meet the Proclamation’s criteria. Instead, upon the
             government’s determination that an individual meets the
             Proclamation’s criteria, that individual is subject to
             “immediate” removal, without notice and without time or
             opportunity to challenge their removal. Proclamation § 3.

                                            B

                  Plaintiffs are a class of Venezuelan nationals in
             government custody who the government claims are subject to
             removal under the Proclamation. Plaintiffs are in the United
             States without permission or lawful documentation and, as a
             result, most if not all are already in immigration detention
             centers across the United States pending immigration hearings
USCA Case #25-5068     Document #2107881               Filed: 03/26/2025        Page 41 of 93




                                           11
             or removal proceedings. But beginning in March 2025, at least
             some of them were moved to the El Valle Detention Facility in
             Texas. See ECF No. 3-3 (J.G.G. Decl.) ¶ 5; ECF No. 3-4
             (Carney Decl. for G.F.F.) ¶ 12; ECF No. 3-5 (Shealy Decl. for
             J.G.O.) ¶ 5; ECF No. 3-6 (W.G.H. Decl.) ¶ 7; ECF No. 3-8
             (J.A.V. Decl.) ¶ 7; ECF No. 44-6 (Thierry Decl.) ¶ 5; ECF No.
             44-8 (Kim Decl.) ¶ 5. The government was unable to inform
             this court whether all individuals subject to the Proclamation
             have been moved to the El Valle Detention Facility, or whether
             they are scattered across detention centers around the country.
             Oral Arg. 1:47:43.

                  Apparently having caught wind of the forthcoming
             Proclamation and the summary removals planned under it, in
             the early morning hours of March 15, 2025, five named
             Plaintiffs filed in the United States District Court for the
             District of Columbia a class action complaint and petition for
             writ of habeas corpus, and a motion for a Temporary
             Restraining Order (“TRO”) against the President, Attorney
             General, Department of Homeland Security, Immigration and
             Customs Enforcement, and Department of State. See ECF No.
             1 (Complaint); ECF No. 3 (TRO Motion). Plaintiffs allege that
             their expected summary removal would be unlawful because
             the Proclamation violated the terms of the AEA, bypassed the
             procedures set forth for removal in the Immigration and
             Nationality Act, violated the Administrative Procedure Act
             (“APA”), and deprived the Plaintiffs of constitutionally
             required due process to challenge their eligibility for removal.
             See ECF No. 1 (Complaint).

                 All five of the named Plaintiffs vehemently deny that they
             are members of TdA. See ECF No. 3-3 (J.G.G. Decl.) ¶ 3; ECF
             No. 44-11 (Carney Decl. for G.F.F.) ¶ 3; ECF No. 44-12
             (Smyth Decl. for J.A.V.) ¶¶ 9, 11; ECF No. 3-6 (W.G.H. Decl.)
             ¶ 12; ECF No. 44-9 (Shealy Decl. for J.G.O.) ¶ 4. Several of
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025        Page 42 of 93




                                            12
             the named Plaintiffs state, in fact, that they sought asylum in
             part because they themselves were victims targeted by TdA and
             other gangs. See ECF No. 44-11 (Carney Decl. for G.F.F.) ¶ 3;
             ECF No. 44-12 (Smyth Decl. for J.A.V.) ¶ 5; ECF No. 3-6
             (W.G.H. Decl.) ¶¶ 3, 11, 12.

                  According to Plaintiffs’ declarations, the government has
             accused one named Plaintiff, who is a tattoo artist, of TdA
             membership on the basis of his tattoo design, which was
             sourced from Google. ECF No. 3-3 (J.G.G. Decl.) ¶ 4. Other
             individuals subject to the Proclamation have also denied
             membership in TdA and have stated that the government has
             wrongly accused them of TdA membership based on tattoos
             that have no connection to TdA. See, e.g., ECF No. 44-5
             (Tobin Decl.) ¶ 7 (declaring that individual is a Venezuelan
             professional soccer player with a tattoo of a soccer ball with a
             crown, similar to the logo of his favorite soccer team, Real
             Madrid). The government also accused another named Plaintiff
             of TdA membership because he attended a party where he
             knew no one other than the person who invited him. ECF No.
             3-4 (G.F.F. Decl.) ¶¶ 5-6.

                  At 9:20 am ET, on the morning of March 15, 2025, the
             district court “contacted the [g]overnment and connected with
             defense counsel[.]” J.G.G. v. Trump, No. 25-cv-766 (JEB),
             2025 WL 890401, at *6-7 (D.D.C. Mar. 24, 2025). At 9:40 am
             ET, the district court granted Plaintiffs’ motion for a TRO
             which prohibited the government from removing the five
             named Plaintiffs based on the Proclamation for fourteen days
             absent further order from the district court. Second Minute
             Order (Mar. 15, 2025). That same day, the government
             appealed the district court’s TRO and filed an emergency
             motion to stay the TRO in this court. The district court also set
             an emergency hearing for 5:00 pm ET that day to consider
             whether to issue a TRO as to the entire class of individuals
USCA Case #25-5068      Document #2107881                Filed: 03/26/2025         Page 43 of 93




                                             13
             whom the government asserts are subject to removal under the
             Proclamation.

                  Despite Plaintiffs’ lawsuit and the district court’s order
             setting a hearing for that afternoon, the government seems to
             have begun the removal process that morning. See ECF No.
             44-9 (Shealy Decl.) ¶ 8; ECF No. 44-10 (Quintero Decl.) ¶ 3;
             ECF No. (Carney Decl.) ¶¶ 12-13; ECF No. 44-12 (Smyth
             Decl.) ¶ 14. By 9:20 am ET, at least one named Plaintiff,
             J.G.O., had been taken to an airport along with other
             Venezuelans. ECF No. 44-9 (Shealy Decl.) ¶ 8.

                  On the afternoon of March 15, 2025, the district court held
             a hearing on Plaintiffs’ class certification motion. During the
             hearing, Plaintiffs represented that two flights “were scheduled
             for this afternoon that may have already taken off or [will]
             during this hearing.” See Mar. 15 Tr. 12:23-25. In response,
             at 5:22 pm ET, the court adjourned the hearing and directed the
             government to determine whether removal of individuals under
             the Proclamation was underway. Around 6:00 pm ET, the
             district court resumed, and the government represented that it
             had no flight information to report to the court. See Mar. 15
             Tr. 15:4-18:8. During the hearing, the district court also
             allowed Plaintiffs to dismiss their habeas claims without
             prejudice. See Mar. 15 Tr. 22:24-25.

                  The district court then provisionally certified a class of all
             Venezuelan noncitizens subject to the Proclamation. See Mar.
             15 Tr. 23:1-4, 25:9-10. At approximately 6:45 pm ET, the
             district court issued an oral TRO prohibiting the government
             from removing members of the class pursuant to the
             Proclamation for fourteen days absent further order from the
             district court. See Mar. 15 Tr. 41:18-21. The court also
             directed the government “that any plane containing”
             individuals subject to the Proclamation “that is going to take
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025         Page 44 of 93




                                              14
             off or is in the air needs to be returned to the United States[.]”
             Mar. 15 Tr. 43:12-15. The district court emphasized that “this
             is something that [the government] need[ed] to make sure
             [was] complied with immediately.” Mar. 15 Tr. 43:18-19.

                  The court issued a written TRO at approximately 7:25 pm
             ET. See Fourth Minute Order (Mar. 15, 2025); ECF No. 21
             (Plaintiffs’ Response to Defendants’ Notice) at 1-2. As
             relevant here, that order provides: “Plaintiffs’ Motion for Class
             Certification is GRANTED insofar as a class consisting of ‘All
             noncitizens in U.S. custody who are subject to the March 15,
             2025, Presidential Proclamation entitled “Invocation of the
             Alien Enemies Act Regarding the Invasion of The United
             States by Tren De Aragua” and its implementation’ is
             provisionally certified; [] The Government is ENJOINED from
             removing members of such class (not otherwise subject to
             removal) pursuant to the Proclamation for 14 days or until
             further Order of the Court[.]” Fourth Minute Order (Mar. 15,
             2025). The court then set a highly expedited schedule for the
             government to seek vacatur of the TROs. Id.

                  In so ruling, the district court was explicit that its order did
             not affect the government’s ability to apprehend or detain
             individuals pursuant to the Proclamation, nor did it require the
             government to release any individual in its custody subject to
             the Proclamation. Mar. 15 Tr. 42:16-18; Mar. 21 Tr. 9:2-16;
             J.G.G., 2025 WL 890401, at *1. In addition, neither TRO
             prevented the government from deporting any individual on the
             basis of authorities other than the Proclamation, including
             under the Immigration and Nationality Act. Mar. 15 Tr. 47:5-
             8; J.G.G., 2025 WL 890401, at *1; see also ECF No. 28-1
             (Cerna Decl.) ¶ 6 (government informing the court that a plane
             “departed after” the district court’s TRO, “but all individuals
             on that third plane had Title 8 final removal orders and thus
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025        Page 45 of 93




                                            15
             were not removed solely on the basis of the Proclamation at
             issue”).

                                            C

                 Questions of the government’s compliance with the TROs
             soon arose, which the district court continues to investigate.
             See Second Minute Order (Mar. 18, 2025); ECF No. 47
             (District Court Order dated Mar. 20, 2025); ECF No. 49
             (Notice filed by Gov’t dated Mar. 20, 2025); ECF No. 50
             (Notice filed by Gov’t dated Mar. 21, 2025); ECF No. 56
             (Notice filed by Gov’t dated Mar. 24, 2025).

                  In those proceedings, the government has taken the
             position that it was not legally bound by and had no obligation
             to obey the district court’s oral orders directing the return of
             airplanes in flight. The government’s repeated position in
             district court has been that those oral orders had no legal force
             until reduced to writing. See ECF No. 24 (Gov’t Mot. to
             Vacate) at 2 (“[A]n oral directive is not enforceable as an
             injunction.”); Mar. 17 Tr. 16:12-14 (“Oral statements are not
             injunctions and [] the written orders always supersede whatever
             may have been stated in the record[.]”); id. at 17:20-21 (“[O]ral
             statements are not injunctions[.]”); see also Mar. 21 Tr. 4:18-
             19, 6:4-5 (district court noting the government’s position that
             the oral ruling was not binding); Oral Arg. 1:48:24-1:49:19.

                  On March 24, 2025, the district court denied the
             government’s motion to vacate the TROs. The district court
             found that Plaintiffs are likely to succeed on their claim that
             either the Proclamation or its implementation are unlawful
             under the AEA and unconstitutional for failure to provide
             Plaintiffs with any advance opportunity to challenge whether
             they qualify for removal under the Proclamation’s terms. See
             J.G.G., 2025 WL 890401, at *3.
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025        Page 46 of 93




                                            16

                                            III

                  The government asks this court to stay the TROs. I agree
             with Judge Henderson that a stay should be denied. There is
             an unsurmountable jurisdictional barrier to the government’s
             request for a stay, and the government’s own threshold
             jurisdictional arguments fail. In addition, the balance of harms
             weighs strongly in favor of the Plaintiffs.

                                             A

                                             1

                  A stay pending appeal is an “extraordinary” remedy.
             Citizens for Resp. & Ethics in Washington v. Federal Election
             Comm’n, 904 F.3d 1014, 1017 (D.C. Cir. 2018) (per curiam).
             To obtain such exceptional relief, the stay applicant must (1)
             make a “strong showing that [it] is likely to succeed on the
             merits” of the appeal; (2) demonstrate that it will be
             “irreparably injured” before the appeal concludes; (3) show
             that issuing a stay will not “substantially injure the other
             parties” interested in the proceeding; and (4) establish that “the
             public interest” favors a stay. Nken v. Holder, 556 U.S. 418,
             434 (2009) (quoting Hilton v. Braunskill, 481 U.S. 770, 776
             (1987)).

                 Here, the standard for obtaining a stay is even more
             daunting. That is because this court has no jurisdiction to hear
             an appeal from a temporary restraining order, making any
             claim of likelihood of success vanishingly low. See Belbacha
             v. Bush, 520 F.3d 452, 455 (D.C. Cir. 2008); see also
             Brotherhood of Railway & S. S. Clerks, Freight Handlers, Exp.
             & Station Emp. v. National Mediation Bd., 374 F.2d 269, 275
             (D.C. Cir. 1966) (“A stay pending appeal is always an
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025        Page 47 of 93




                                            17
             extraordinary remedy, and it is no less so when extraordinary
             jurisdiction must be asserted as a prerequisite.”).

                   By statute, “our appellate jurisdiction generally extends
             only to the ‘final decisions’ of district courts.” Salazar ex rel.
             Salazar v. District of Columbia, 671 F.3d 1258, 1261 (D.C. Cir.
             2012) (quoting 28 U.S.C. § 1291). There is an exception to that
             finality requirement for “[i]nterlocutory orders * * * granting,
             continuing, modifying, refusing or dissolving injunctions, or
             refusing to dissolve or modify injunctions.” 28 U.S.C.
             § 1292(a)(1). But that provision encompasses “injunctions”
             only. See United States v. Hubbard, 650 F.2d 293, 314 n.73
             (D.C. Cir. 1980). There “is no [equivalent] statutory provision
             for the appeal of a temporary restraining order.” Dellinger v.
             Bessent, No. 25-5028, 2025 WL 559669, at *4 (D.C. Cir. Feb.
             15, 2025) (quoting Wright & Miller, Fed. Prac. & Proc. Civ.
             § 2951 (3d ed. June 2024 update)).

                 As a result, we can review a TRO only if the appellant can
             show that the order is the legal equivalent of a preliminary
             injunction. See Belbacha, 520 F.3d at 455. The “label attached
             to an order by the trial court is not decisive[,]” and instead
             appellate courts must “look to other factors” to determine
             whether a TRO should be treated as a preliminary injunction.
             Adams v. Vance, 570 F.2d 950, 953 (D.C. Cir. 1978) (citation
             omitted).

                  Among those factors, we assess whether the TRO (1)
             remains in force longer than the time permitted for such an
             order under Federal Rule of Civil Procedure 65, Sampson v.
             Murray, 415 U.S. 61, 86 (1976); (2) “foreclose[s]” the
             appellant “from pursuing further interlocutory relief in the form
             of a preliminary injunction,” Belbacha, 520 F.3d at 455
             (citation omitted); or (3) otherwise upsets “the status quo
USCA Case #25-5068      Document #2107881                 Filed: 03/26/2025         Page 48 of 93




                                             18
             pending further proceedings” in ways that have “irretrievable”
             consequences, Adams, 570 F.2d at 953.

                 The government has not shown that any of those
             exceptions apply.

                  First, the TROs fall well within the 14-day time length
             (extendable for another 14 days for “good cause”) allowed by
             Federal Rule of Civil Procedure 65. FED. R. CIV. P. 65(b)(2).
             The district court has been handling this complicated matter
             with speed and diligence, and has directed the Plaintiffs to file
             any motion to convert the TROs into a preliminary injunction
             by March 26, 2025, which is a date within the original 14-day
             time period for the TROs. When a district court arranges for a
             “prompt hearing on a preliminary injunction[,]” this court does
             not short-circuit that process and treat a TRO as a “de facto”
             injunction. Office of Pers. Mgmt. v. American Fed’n of Gov’t
             Emps., AFL-CIO, 473 U.S. 1301, 1305 (1985) (Burger, C.J., in
             chambers). 4

                  Second, the government does not even argue that the TROs
             have somehow impaired its ability to pursue injunctive relief
             of its own. So that avenue for appeal of the TROs is closed.

                  Third, the district court’s TROs are carefully tailored just
             to preserve the status quo while the court obtains briefing and
             the factual development needed to rule on a motion for a
             preliminary injunction. In removal cases, the status quo is the
             “state of affairs before the removal order was entered.” Nken,
             556 U.S. at 418 (“Although such a stay acts to ‘ba[r] Executive
             Branch officials from removing [the applicant] from the

                 4
                    For those reasons, the government’s argument that the TROs
             amount to preliminary injunctions because they are slated to last 14
             days is without merit. Gov’t First Stay Mot. 3-5.
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025        Page 49 of 93




                                            19
             country,’ * * * it does so by returning to the status quo[.]”)
             (citation omitted). That status quo is the time before the
             Proclamation and removals under it commenced. See also
             Huisha-Huisha v. Mayorkas, 27 F.4th 718, 734 (D.C. Cir.
             2022) (“[T]he status quo [i]s ‘the last peaceable uncontested
             status’ existing between the parties before the dispute
             developed.”) (quoting 11A Wright & Miller § 2948 (3d ed.
             1998)).

                  Importantly, the district court has tailored its TROs to
             operate even more narrowly than the status quo by allowing the
             apprehension and detention of alleged TdA members under the
             Proclamation, proscribing only their removal under the AEA.
             Mar. 15 Tr. 42:16-18 (ordering a TRO “to prevent the removal
             of the class for 14 days”); Mar. 21 Tr. 9:2-16 (underscoring that
             the TROs allow the government to keep Plaintiffs “in-custody”
             and do “not order anybody to be released into the United
             States”); J.G.G., 2025 WL 890401, at *1 (“Neither Order
             prevented the Government from apprehending anyone
             pursuant to the * * * Proclamation.”). In addition, the court has
             been explicit that nothing in the TROs prohibits removals
             based on other legal grounds such as the Immigration and
             Nationality Act. Mar. 15 Tr. 47:5-8; J.G.G., 2025 WL 890401,
             at *1 (“[N]either Order prevented the Government from
             deporting         anyone—including           Plaintiffs—through
             authorities other than the Proclamation, such as the INA.”).

                  In those ways, this case bears no resemblance to Adams v.
             Vance, supra, on which the government hangs its jurisdictional
             hat. Gov’t First Stay Mot. 5; Gov’t Second Stay Mot. 9. In
             Adams, this court treated a TRO as a preliminary injunction
             because, instead of “preserv[ing] the status quo pending further
             proceedings,” it “commanded an unprecedented action
             irreversibly altering [a] delicate diplomatic balance” in the
             “arena” of international restrictions on whale hunting. 570
USCA Case #25-5068     Document #2107881               Filed: 03/26/2025        Page 50 of 93




                                           20
             F.2d at 953. In particular, that TRO would have forced the
             Secretary of State to file a formal “objection” to an action of
             the International Whaling Commission. Id.

                 The TROs at issue here are the polar opposite. Rather than
             compelling Executive action, they simply stay the
             government’s hand in part.

                                            2

                  The government nonetheless argues that the TROs should
             be treated as injunctions because they work “an extraordinary
             harm” to the President’s authority under Article II to conduct
             foreign affairs. Gov’t First Stay Mot. 4; Gov’t Second Stay
             Mot. 8. But the government has shown no such harm here, and
             its own arguments weigh against it.

                 To start, as noted above, the TROs do not affect the
             government’s ability to remove deportable individuals under
             federal laws other than the AEA or to detain and arrest anyone
             who is a threat to national or domestic security. So the only
             potential harm is the temporary inability to remove individuals
             under the AEA and Proclamation.

                 As to that limitation, the government agrees that
             individuals are entitled to challenge in court whether they fall
             within the terms of the AEA or are otherwise not lawfully
             removable under it. Oral Arg. 1:41:55-1:42:28, 1:42:50-
             1:43:12.    Indeed, the government repeatedly points to
             unidentified habeas corpus litigation in Texas raising those
             very types of claims. Oral Arg. 19:46-20:10, 20:30-20:50,
             22:14-22:20, 31:00-31:40.

                 Given that the government agrees that removal can be
             delayed to allow for due process review in habeas consistent
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025        Page 51 of 93




                                            21
             with national security, the same must be true in this courthouse.
             Certainly the government has given no reason that the delays
             occasioned by these TROs affect national security in a way
             different than the removal delays associated with the habeas
             corpus cases of which it procedurally approves. And, if the
             government were correct in concluding that AEA removal
             challenges could be brought in habeas, that litigation could
             afford the same relief from imminent removal sought here. So
             the government has not shown how the nature of the relief
             afforded in these TROs itself somehow impacts national
             security.

                  The government’s last national security objection is that
             the district court’s oral order on March 15th to turn around
             airplanes removing class members under the AEA was the
             equivalent of a court ordering a carrier group to redeploy from
             the South China Sea. Oral Arg. 1:03-1:12.

                  A TRO directing military deployments or maneuvers
             certainly would raise profound separation of powers questions
             warranting the most careful consideration and remediation.
             But nothing remotely like that happened here. The district
             court’s TROs only directed immigration officials to preserve
             their custody, and thus the court’s jurisdiction, over the
             Plaintiffs. The government does not dispute that the Plaintiffs
             on the non-military planes and the planes themselves were fully
             under its control at the time of the court’s oral order. See Munaf
             v. Geren, 553 U.S. 674, 686 (2008) (“An individual is held ‘in
             custody’ by the United States when the United States official
             charged with his detention has ‘the power to produce’ him.”)
             (quoting Wales v. Whitney, 114 U.S. 564, 574 (1885)); see
             also Braden v. Thirtieth Judicial Circuit Court of Kentucky,
             410 U.S. 484, 489 n.4 (1973) (petitioner can be “in custody” of
             an entity through that entity’s agent); Umanzor v. Lambert, 782
             F.2d 1299, 1302 (5th Cir. 1986) (stating that there was “little
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025          Page 52 of 93




                                              22
             difficulty in concluding” that habeas petitioner was “in
             custody” where petitioner “was under actual physical restraint
             by the government’s agent—the airline” and noting that
             petitioner “was imprisoned inside of the aircraft, against his
             will, until the aircraft completed the flight and he was
             released[]”).

                  Even more to the point, the government’s persistent theme
             for the last ten days has been that the district court’s oral
             direction regarding the airplanes was not a TRO with which it
             had to comply. See ECF No. 24 (Gov’t Mot. to Vacate) at 2
             (“[A]n oral directive is not enforceable as an injunction.”);
             Mar. 17 Tr. 16:12-14 (“Oral statements are not injunctions and
             [] the written orders always supersede whatever may have been
             stated in the record[.]”); id. at 17:20-21 (“[O]ral statements are
             not injunctions[.]”); see also Mar. 21 Tr. 4:18-19, 6:4-5
             (district court noting the government’s position that the oral
             ruling was not binding); Oral Arg. 1:48:24-1:49:19.

                  I leave the merits of that argument for the district court to
             resolve in the first instance. But the one thing that is not
             tolerable is for the government to seek from this court a stay of
             an order that the government at the very same time is telling
             the district court is not an order with which compliance was
             ever required. Heads the government wins, tails the district
             court loses is no way to obtain the exceptional relief of a TRO
             stay. 5


                  5
                     See New Hampshire v. Maine, 532 U.S. 742, 749 (2001) (A
             party may not “prevail[] in one phase of a case on an argument and
             then rely[] on a contradictory argument to prevail in another phase.”)
             (citation omitted); Solo v. United Parcel Serv. Co., 947 F.3d 968, 972
             n.2 (6th Cir. 2020) (positions in district court and on appeal cannot
             be contradictory).
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025        Page 53 of 93




                                            23
                  Next, the government claims that the TROs “risk[]
             scuttling delicate international negotiations” providing for the
             removal of Plaintiffs to Venezuela and El Salvador. Gov’t
             Second Stay Mot. 9; ECF No. 26-2 (Kozak Decl.) ¶¶ 2-4. The
             government then says that “removal delayed tends to become
             removal denied.” Gov’t Reply 3.

                  But the government’s arguments keep running into
             themselves. The government has no objection on diplomatic
             grounds to removal delays while individualized review of
             whether a noncitizen falls within the Proclamation’s own terms
             is under way. At least as long as it is a habeas action. But once
             again, we are lacking any explanation as to why the Plaintiffs’
             APA claim challenging the government’s across-the-board
             failure to allow any opportunity for that review is somehow a
             different strain on diplomatic relations. At bottom, the TROs’
             purpose is to ensure that justice is neither delayed nor denied
             to Plaintiffs.

                  In addition, the government does not explain why there
             would be any possible breakdown in diplomatic discussions
             over ensuring that removed individuals are, in fact, members
             of TdA. Surely the government claims no diplomatic interest
             in sending individuals to El Salvador or Venezuela who are not
             members of TdA and so are not covered by the Proclamation.
             See Proclamation § 1 (invoking authority over “Venezuelan
             citizens 14 years of age or older who are members of TdA”)
             (emphasis added). I will not put the cart before the horse and
             rely on a harm that assumes the very fact Plaintiffs vigorously
             contest.

                                            3

                 There is yet another (non-jurisdictional) procedural
             problem with the government’s request for a stay. Appellate
USCA Case #25-5068      Document #2107881                Filed: 03/26/2025         Page 54 of 93




                                             24
             Litigation 101 requires parties seeking a stay from this court to
             first request one from the district court. FED. R. APP. P. 8(a)(2);
             Powder River Basin Res. Council v. United States Dep’t of
             Interior, No. 24-5268, 2025 WL 312649, at *1 (D.C. Cir. Jan.
             24, 2025) (per curiam); Teva Pharms. USA, Inc. v. Food &
             Drug Admin., No. 05-5401, 2005 WL 6749423, at *1 (D.C. Cir.
             Nov. 16, 2005) (per curiam).

                  The government is fully familiar with that requirement. In
             fact, the government routinely asks this court to dismiss stay
             requests by other parties for failure to seek a stay below, see
             Gov’t Br. 9, Vertical Aviation Int’l, Inc. v. Federal Aviation
             Auth., No. 25-1017 (D.C. Cir. Mar. 19, 2025); Gov’t Br. 8,
             Frontier Airlines, Inc. v. Department of Transp., No. 25-1002
             (D.C. Cir. Feb. 6, 2025); Gov’t Br. 10, Bull v. Drug Enf.
             Agency, No. 13-1279 (D.C. Cir. Nov. 20, 2013), and we
             commonly agree, see Vertical Aviation Int’l, Inc. v. Federal
             Aviation Auth., No. 25-1017 at 1 (D.C. Cir. Mar. 19, 2025);
             Frontier Airlines, Inc. v. Department of Transp., No. 25-1002
             at 1 (D.C. Cir. Feb. 6, 2025); Bull v. Drug Enf,. Agency, No.
             13-1279 at 1 (D.C. Cir. Nov. 20, 2013).

                 Yet the government completely failed to seek stays of the
             TROs from the district court at all. Not for lack of time. It has
             had more than a week to do so. And not for temporarily
             forgetting the requirement.        It has openly flagged its
             noncompliance in its briefs. Gov’t First Stay Mot. 4 n.1; Gov’t
             Second Stay Mot. 8 n.1. There are occasional exceptions to
             seeking a stay in district court, but the government has argued
             none of them here.

                  I would deny the stay on this additional ground. The
             government needs to play by the same rules it preaches. And
             it needs to respect court rules.
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025        Page 55 of 93




                                            25
                                             B

                 While the government has not demonstrated a likelihood
             of establishing jurisdiction over its appeals and request for a
             stay of the TROs, a majority of this panel has concluded
             otherwise.     Given that resolution, I address why the
             government’s own threshold arguments challenging the district
             court’s jurisdiction also are unlikely to succeed.

                                             1

                                             a

                   The government argues that Plaintiffs’ case is non-
             justiciable because the Executive Branch’s interpretation of the
             AEA as applying to the removal of members of a criminal gang
             is a judicially unreviewable political question. Gov’t First Stay
             Mot. 4.

                  I note at the outset that the government’s argument does
             not suggest that the Plaintiffs’ constitutional entitlement to
             notice and some opportunity for pre-removal due process is a
             political question. So this argument by the government does
             not actually affect the district court’s jurisdiction to enter the
             TROs.

                 Anyhow, political questions are decisions committed by
             the Constitution to the discretion of the Political Branches or
             lacking judicially manageable standards of review. See
             Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189, 197-198
             (2012) (Zivotofsky I). Although federal courts must account for
             prudential considerations when deciding whether an issue
             constitutes a political question, see Baker v. Carr, 369 U.S.
             186, 217 (1962), the Constitution’s assignment of
             responsibilities and the feasibility of judicial review are “the
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025        Page 56 of 93




                                            26
             most important” factors, Schieber v. United States, 77 F.4th
             806, 810 (D.C. Cir. 2023), cert. denied, 144 S. Ct. 688 (2024).

                  The gravamen of the government’s position is that the
             President has total and unreviewable authority to decide
             whether the statutory prerequisites for invoking the AEA are
             met in Plaintiffs’ case. This includes deciding whether TdA is
             a “foreign nation or government” and whether its actions
             amount to an “invasion or predatory incursion” into the United
             States. 50 U.S.C. § 21.

                  That argument is not likely to succeed. The judiciary, not
             the Executive, has the ultimate constitutional responsibility and
             capacity for saying what statutes and statutory terms mean.

                  Under the Constitution, federal courts are vested with the
             “judicial Power of the United States[,]” U.S. CONST. Art. III,
             § 1, and “[i]t is emphatically the province and duty of the
             judicial department to say what the law is.” Marbury, 5 U.S.
             at 177. “When the meaning of a statute [is] at issue, the judicial
             role [is] to ‘interpret the act of Congress, in order to ascertain
             the rights of the parties.’” Loper Bright Enterprises v.
             Raimondo, 603 U.S. 369, 385 (2024) (quoting Decatur v.
             Paulding, 39 U.S. 497, 515 (1840)).

                 In addition, statutory interpretation is judicially
             manageable because it does not require courts to exercise “their
             own political judgment[.]” Rucho v. Common Cause, 588 U.S.
             684, 705 (2019). Instead, the judicial “task is to discern and
             apply the law’s plain meaning as faithfully” as possible. BP
             P.L.C. v. Mayor & City Council of Baltimore, 141 S. Ct. 1532,
             1542 (2021). Because questions about meaning are objectively
             discernible from statutory text and context, courts can decide
             them “by applying their own judgment.” Loper Bright, 603
             U.S. at 392.
USCA Case #25-5068      Document #2107881                Filed: 03/26/2025         Page 57 of 93




                                             27

                  That is why the “Supreme Court has never applied the
             political question doctrine in cases involving statutory claims
             of this kind.” El-Shifa Pharm. Indus. Co. v. United States, 607
             F.3d 836, 855 (D.C. Cir. 2010) (Kavanaugh, J., concurring in
             the judgment). Instead, the Court has emphasized that whether
             to “enforce a specific statutory right” is “a familiar judicial
             exercise,” not a political question. Zivotofsky I, 566 U.S. at
             196.

                  That remains true even if the statute’s subject concerns
             foreign or military affairs. Zivotofsky, 566 U.S. at 196
             (statutory right to passport designation implicating diplomatic
             status of Jerusalem is not a political question). Indeed, “[i]t is
             error to suppose that every case or controversy which touches
             foreign relations lies beyond judicial cognizance.” Baker, 369
             U.S. at 211. Many legal questions arising from statutes
             involving foreign policy are not political questions. 6 And
             many cases require courts to decide whether the plaintiff has a
             statutory right based on terms like “war,” “peace,” and
             “hostilities” abroad. See Lee v. Madigan, 358 U.S. 228, 229
             (1959); Woods v. Cloyd W. Miller Co., 333 U.S. 138, 140-141
             (1948); Ludecke, 335 U.S. at 166-167; Al-Alwi v. Trump, 901
             F.3d 294, 300 (D.C. Cir. 2018).

                 6
                   See Zivotofsky I, 566 U.S. at 194; Japan Whaling Association
             v. American Cetacean Society, 478 U.S. 221, 229 (1986); Trans
             World Airlines, Inc. v. Franklin Mint Corp., 466 U.S. 243, 254 n.25
             (1984); Al-Tamimi, 916 F.3d at 13; Schieber, 77 F.4th at 812; Simon
             v. Republic of Hungary, 812 F.3d 127, 150 (D.C. Cir. 2016),
             abrogated on other grounds by Federal Republic of Germany v.
             Philipp, 592 U.S. 169 (2021); Wilson v. Libby, 535 F.3d 697, 703-
             704 (D.C. Cir. 2008); DKT Memorial Fund, Ltd. v. Agency for
             International Dev., 810 F.2d 1236, 1238 (D.C. Cir. 1987);
             Population Institute v. McPherson, 797 F.2d 1062, 1068 (D.C. Cir.
             1986).
USCA Case #25-5068     Document #2107881               Filed: 03/26/2025        Page 58 of 93




                                           28

                  This case fits that same apolitical, statutory-construction
             mold. The parties disagree about the meaning of words. For
             example, relying on dictionaries from when the AEA was
             written, the plaintiffs argue that the word “invasion” means
             “entrance of a hostile army[.]” Pls’ Br. 21 (citing Webster’s
             Dictionary, Invasion (1828)). By contrast, the government
             cites a modern dictionary defining “invasion” as the “arrival
             somewhere of people or things who are not wanted[.]” Gov’t
             First Stay Mot. 12 (citing Black’s Law Dictionary, Invasion
             (12th ed. 2024)). The judiciary can resolve this disagreement
             with settled tools of statutory construction.

                  To be sure, other non-interpretive parts of the
             Proclamation may involve expert and discretionary judgments.
             For example, whether a criminal gang has infiltrated a foreign
             government so deeply that it has become a part of that
             government itself may well be a judgment for the Political
             Branches to make. Cf. Zivotofsky ex rel. Zivotofsky v. Kerry,
             576 U.S. 1, 28 (2015) (deciding political status of Jerusalem is
             a political question); Oetjen v. Century Leather Co., 246 U.S.
             297, 302 (1918) (determining government of Mexico is a
             political question); Jones v. United States, 137 U.S. 202, 212
             (1890) (determining sovereignty over Guano Islands is a
             political question); Lin v. United States, 561 F.3d 502, 506
             (D.C. Cir. 2009) (determining sovereignty over Taiwan is a
             political question); U.S. CONST. Art. II, § 3 (The President
             “shall receive Ambassadors and other public Ministers[.]”).
             But once those decisions are made, determining whether the
             political answer falls within the meaning of a statutory term is
             the job of the Judicial Branch.
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025        Page 59 of 93




                                            29
                                             b

                  The government’s efforts to shoehorn the statutory
             interpretation questions in this case into the political-question
             doctrine are unlikely to succeed.

                 First, the government argues that the Supreme Court
             foreclosed judicial review of the AEA’s meaning in Ludecke.

                  Actually, the Supreme Court said the opposite. Ludecke,
             which is the only Supreme Court case interpreting the AEA,
             said that courts may not “pass judgment upon the exercise of
             [the President’s] discretion” when invoking the AEA. 335 U.S.
             at 164. But the discretion to which the Court referred was the
             President’s judgment whether, in the conduct of a war, to
             invoke the Act and, if so, whether to remove, relocate, or just
             detain alien enemies. Ludecke, 335 U.S. at 164-169.

                  But the separate issue of what the AEA’s text means is a
             question of law, not discretion. That is why the Supreme Court
             specifically held that the AEA’s “interpretation and
             constitutionality” are matters to be decided by federal courts.
             Ludecke, 335 U.S. at 163-164. In fact, the central question
             resolved by the Supreme Court was whether the term “war” in
             Section 21 of the Act requires ongoing hostilities for the AEA
             to remain in force. Id. at 166-167. The Court engaged in
             statutory construction and held that, even if the shooting has
             stopped, the relevant state of “war” continues until the Political
             Branches terminate the Nation’s state of war. Id. at 167-169.
             So Ludecke conclusively held—and showed—that interpreting
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025          Page 60 of 93




                                              30
             the meaning of the AEA’s words falls within the Judicial
             Branch’s wheelhouse. 7

                 Second, the government maintains that whether there has
             been an “invasion or predatory incursion” of the United States
             and whether TdA is a “foreign nation or government” are
             committed to the President’s discretion. Not likely.

                  For one, this case does not require the court to “supplant a
             foreign policy decision” with its own “unmoored determination
             of what United States policy” should be. Zivotofsky I, 566 U.S.
             at 196. Instead, the district court is assessing whether
             exceptional removal procedures are available for alleged
             members of TdA under the AEA. The Supreme Court
             addressed the same question for German nationals in Ludecke.
             335 U.S. at 166-167. There, the Supreme Court decided what
             “war” means under the AEA. This case involves what the
             neighboring terms “invasion” and “incursion” mean. 50 U.S.C.
             § 21. How the President should combat the dangers posed by
             TdA, whether to treat TdA as an arm of the Venezuelan state,
             and whether to remove or detain qualifying TdA’s members are
             not questions under review, any more than the President’s
             conduct of World War II was under review in Ludecke. All the
             district court is deciding is whether the AEA permits the
             government to deny Plaintiffs all pre-removal notice and due
             process. Resolving that issue is a core judicial responsibility.
             See, e.g., Hamdi v. Rumsfeld, 542 U.S. 507, 529 (2004).


                  7
                    The government also claims that this court held that AEA
             claims are non-justiciable in Citizens Protective League v. Clark, 155
             F.2d 290 (D.C. Cir. 1946). Not so. Citizens Protective League ruled
             on the merits of a constitutional challenge to the AEA, concluding
             that the “Alien Enemy Act is constitutional[.]” Id. at 293. Any
             contrary suggestion in the opinion regarding the non-justiciability of
             statutory interpretation issues was superseded by Ludecke.
USCA Case #25-5068     Document #2107881               Filed: 03/26/2025        Page 61 of 93




                                           31
                  In addition, the government is mistaken about the extent
             of unilateral Executive authority under the Constitution. An
             assertion of exclusive Executive authority is “the least
             favorable of possible constitutional postures” and it runs
             aground here on the express constitutional assignment of
             relevant authority to Congress. Youngstown Sheet & Tube Co.
             v. Sawyer, 343 U.S. 579, 640 (1952) (Jackson, J. concurring).
             For it is Congress that has the power to “repel Invasions[,]”
             U.S. CONST. Art. I, § 8, cl. 15, and retains “plenary authority”
             over noncitizens, INS v. Chadha, 462 U.S. 919, 940 (1983); see
             U.S. CONST. Art. I, § 8, cl. 4. While the “United States” must
             “protect each” state “against Invasion,” nothing in the
             Constitution assigns this responsibility exclusively to the
             President. Id. Art. IV, § 4, and, in fact, Article I indicates
             otherwise, id. Art. I, § 8, cl. 15 (giving Congress the power to
             repel invasions).

                  To be sure, the President enforces laws that Congress
             makes on these subjects because the President must “take Care
             that the Laws be faithfully executed[.]” U.S. CONST. Art. II,
             § 3. But that authority is bounded by the statutory limits
             Congress has set in the AEA, and determining what those
             statutory terms mean is a judicial responsibility. Id. Art. III,
             § 1. This is so even for questions concerning war and
             international aggression. “From the very beginning” federal
             courts have determined “the law of nations which prescribes,
             for the conduct of war, the status, rights and duties of enemy
             nations as well as of enemy individuals.” Ex parte Quirin, 317
             U.S. 1, 27-28 (1942).

                  The government argues lastly that, as a practical matter,
             the judiciary should not contradict the Executive’s
             interpretation of the statute. Gov’t First Stay Mot. 17-18. That
             sounds like an argument for the version of the AEA that
             Congress refused to enact, under which courts would simply
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025         Page 62 of 93




                                              32
             follow “the rules and directions which, in any proclamation or
             other public act, the President of the United States shall and
             may make[.]” 8 ANNALS OF CONG. 1786 (1798). Congress
             chose instead to enact an AEA that denied unchecked
             Executive authority and left an independent role for the courts.
             50 U.S.C. § 23; contrast An Act Concerning Aliens, ch. 58, § 1,
             1 Stat. 571 (1798) (granting the President discretion to remove
             any alien he “judge[d] dangerous to the peace”).

                  In any event, the government identifies no prudential
             reasons the district court or this court should shrink back in this
             case. The government has not identified any conflict with “the
             other two branches” at all, Al-Tamimi, 916 F.3d at 12 (emphasis
             added). Nor, at this pre-merits stage, has the government
             explained why the district court’s preservation of the status quo
             so that the Plaintiffs can obtain the due process review (which
             the government agrees they can have) crosses any prudential
             lines. Something “more is required” for a political question
             than mere “inconsistency between a judicial decision and the
             position of” an Administration. Id.

                                              2

                                              a

                  Equally unavailing is the government’s suggestion that the
             District of Columbia is the incorrect location for this suit. The
             government argues that, because the Plaintiffs’ “claims sound
             in habeas” and the “only proper venue” for a habeas petition is
             the venue where a detainee is being held, Plaintiffs must sue in
             Texas—not the District of Columbia. Gov’t First Stay Mot. 8.

                   At the outset, to the extent the government is arguing that
             Plaintiffs’ failure to file in the district of detention deprives the
             district court of subject matter jurisdiction, that argument has
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025        Page 63 of 93




                                            33
             no purchase. In a habeas petition, the place of detention matters
             for personal jurisdiction or venue, but not for subject matter
             jurisdiction. See Braden, 410 U.S. at 493 (applying “traditional
             venue considerations” to identify the correct forum for a habeas
             suit); see also Rumsfeld v. Padilla, 542 U.S. 426, 434 n.7
             (2004) (referring to “jurisdiction” as used in the habeas statute,
             “not in the sense of subject-matter jurisdiction of the District
             Court”); id. at 451 (Kennedy, J., concurring) (“[T]he question
             of the proper location for a habeas petition is best understood
             as a question of personal jurisdiction or venue.”).

                  But the government’s argument flounders for a more
             fundamental reason. Plaintiffs’ claims are not habeas claims
             and do not sound in habeas. Their complaint originally
             included one count alleging their detention violated the right to
             habeas corpus. ECF No. 1 (Complaint) ¶¶ 105-106. But the
             district court has since granted Plaintiffs’ motion to dismiss
             that count from the complaint, Mar. 15. Tr. 22:23-25, and the
             rest of Plaintiffs’ claims are routine APA claims.

                  Habeas corpus is the proper vehicle for challenges to the
             legality of custodial detention, not the proper vehicle for a
             petitioner to “claim the right to * * * remain in a country or to
             obtain administrative review potentially leading to that result.”
             DHS v. Thuraissigiam, 591 U.S. 103, 117 (2020). The
             Supreme Court has been crystal clear on this point: “The writ
             simply provide[s] a means of contesting the lawfulness of
             restraint and securing release” from detention. Id.

                  In Thuraissigiam, a noncitizen in detention sought a writ
             of habeas corpus to prevent his deportation to Sri Lanka. The
             Court held that he could not pursue his claim through habeas
             because he sought, in many ways, the opposite of release from
             detention. 591 U.S. at 119. “[T]he Government [wa]s happy
             to release him—provided the release occur[red] in the cabin of
USCA Case #25-5068     Document #2107881                Filed: 03/26/2025        Page 64 of 93




                                            34
             a plane bound for Sri Lanka.” Id. But, because Thuraissigiam
             wanted instead “the opportunity to remain lawfully in the
             United States[,]” his requested relief fell “outside the scope of
             the writ[.]” Id.

                  Likewise, in Munaf, American citizens in U.S. custody in
             Iraq during military operations there filed habeas petitions to
             prevent their transfer to Iraqi authorities for criminal
             prosecution. 553 U.S. at 692. The Supreme Court held that
             their “claims do not state grounds upon which habeas relief
             may be granted.” Id. “Habeas is at its core a remedy for
             unlawful executive detention[,]” and “[t]he typical remedy for
             such detention is, of course, release.” Id. at 693. Because the
             “last thing” the petitioners in Munaf wanted was “simple
             release”—“that would expose them to apprehension by Iraqi
             authorities for criminal prosecution”—they could not press
             their claims through a habeas action. Id. at 693-694.

                  Like the plaintiffs in Thuraissigiam and Munaf, Plaintiffs
             here do not seek release from detention; they want to stay in
             detention in the United States. The gravamen of their
             complaint is that the government cannot implement the
             President’s proclamation by removing them from the United
             States and releasing them into the custody of a foreign
             sovereign, especially without affording them basic due process.
             See ECF No. 1 (Complaint) ¶¶ 71-73. In other words, the “last
             thing” Plaintiffs want is release from U.S. detention, Munaf,
             553 U.S. at 693.

                                            b

                 Given that precedent, the Plaintiffs’ APA action is an
             appropriate vehicle for the challenges they raise to the
             defendant agencies’ implementation of the Proclamation
             without notice and due process. Unless otherwise precluded by
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025        Page 65 of 93




                                            35
             statute, the APA generally provides a cause of action to
             challenge removals outside of the immigration laws.
             Shaughnessy v. Pedreiro, 349 U.S. 48, 51 (1955); see Robbins
             v. Regan, 780 F.2d 37, 42 (D.C. Cir. 1985) (“[J]urisdiction over
             APA challenges to federal agency action is vested in district
             courts unless a preclusion of review statute * * * specifically
             bars judicial review in the district court.”); see also 8 U.S.C.
             § 1252(g) (stripping courts of jurisdiction to review, as relevant
             here, removal orders under Title 8, Chapter 12).

                  Nothing in the AEA forecloses judicial review of an
             alleged enemy alien’s claim that removal would be unlawful.
             Quite the opposite, Section 23 expressly provides for judicial
             review of claims raised by persons before the court. And the
             AEA, of course, is not part of Title 8, Chapter 12, and so is not
             subject to Section 1252(g)’s jurisdiction stripping.

                  We recently reached that same conclusion in Huisha-
             Huisha. There, asylum seekers in detention in Texas
             challenged the Executive’s use of 42 U.S.C. § 265, a public
             health statute, to expel them from the United States. 27 F.4th
             at 723-724, 726-727, 733. The asylum seekers argued that the
             use of Section 265 was “contrary to law” under the APA and
             was improperly implemented by the agency. Compl. ¶¶ 74-
             79, 83-84, 101-102, Huisha-Huisha v. Mayorkas, 27 F.4th 718
             (D.C. Cir. 2022). The government did not argue that there was
             any jurisdictional impediment to APA review, and we found
             none.

                  Plaintiffs’ suit here fits the APA bill as well. Instead of
             the Executive using Section 265 to justify removals, it relies on
             the Alien Enemies Act. But, because the AEA is outside
             Chapter 12 of the U.S. Code, plaintiffs may challenge their
             removals under the APA.
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025          Page 66 of 93




                                              36
                  As the government does not dispute, venue for Plaintiffs’
             APA claims is proper in the District of Columbia. It is the
             judicial district where defendants—agencies and officers of the
             United States—reside. See 28 U.S.C. § 1391(e)(1) (“A civil
             action in which a defendant is an officer or employee of the
             United States or any agency thereof acting in his official
             capacity * * * may * * * be brought in any judicial district in
             which [] a defendant in the action resides[.]”). 8

                                               c

                  The government’s insistence that Plaintiffs’ claims can
             only proceed through habeas, and not under the APA, is not
             likely to succeed either.

                 First, the government is wrong that “review of AEA
             enforcement lies only in habeas[.]” Gov’t Second Stay Mot.
             21. Our decision in Citizens Protective League shows
             otherwise. There, we entertained non-habeas “civil actions”

                  8
                    Even if Section 1252(g) barred individual plaintiffs from
             relying on the APA to challenge their individual removals, it would
             not bar Plaintiffs’ class-wide challenge to the procedures—or lack
             thereof—by which removals are being effectuated. Section
             1252(g)’s reference to a “decision or action[,]” 8 U.S.C. § 1252(g),
             “describes a single act rather than a group of decisions or a practice
             or procedure employed in making decisions.” Reno v. Catholic Soc.
             Servs., Inc., 509 U.S. 43, 56 (1993) (quoting McNary v. Haitian
             Refugee Center, Inc., 498 U.S. 479, 492 (1991) (analyzing similar
             language in 8 U.S.C. § 1255). That language therefore “describes
             the denial of an individual application,” and so “applies only to
             review of denials of individual * * * applications.” Id. (quoting
             McNary, 498 U.S. 479 at 492). For that reason, both Reno and
             McNary found district courts had jurisdiction over class-wide
             challenges to the procedural implementation of immigration
             processes. Id. at 55-56; McNary, 498 U.S. at 491-494.
USCA Case #25-5068      Document #2107881                 Filed: 03/26/2025         Page 67 of 93




                                             37
             brought by 159 German nationals and a non-profit organization
             to challenge removals under the AEA. Citizens Protective
             League, 155 F.2d at 291.

                  Outside the context of the AEA, the Supreme Court has
             also not required plaintiffs to use habeas when they do not
             challenge detention. The Court has never “recognized habeas
             as the sole remedy where the relief sought would not terminate
             custody, accelerate the date of release, or reduce the custody
             level.” Skinner v. Switzer, 562 U.S. 521, 534 (2011). To the
             contrary, when the relief sought is simply to “stay” in the
             United States, that relief “falls outside the scope of the writ[.]”.
             Thuraissiggiam, 591 U.S. at 119.

                 Second, the government relies on LoBue v. Christopher,
             82 F.3d 1081 (D.C. Cir. 1996), to argue that, so long as
             Plaintiffs could have petitioned for habeas to secure the relief
             they seek, no other cause of action is available. Thuraissiggiam
             and Munaf establish that habeas relief is not available in this
             context, so the government’s LoBue argument is beside the
             point.

                  LoBue is off point for another reason. In that case, two
             plaintiffs detained in Illinois for extradition to Canada filed
             habeas corpus actions in Illinois and then a separate APA suit
             in the District of Columbia. They argued that the extradition
             laws were unconstitutional. Id. at 1081-1083. This court
             rejected the plaintiffs’ attempt to make an end-run around
             habeas. Because success in their declaratory suit would have
             “preclusive effect” on their concurrently filed habeas petitions
             and so would secure their release from confinement, it did not
             matter that the plaintiffs did not “formally s[eek] a release from
             custody” in this court. Id. at 1083.
USCA Case #25-5068      Document #2107881                 Filed: 03/26/2025         Page 68 of 93




                                             38
                  Plaintiffs, by contrast, are not manipulating anything. The
             government’s implementation of the Proclamation gave no
             individual notice or any time at all to file suit to challenge their
             removal. Only a swift class action could preserve the
             Plaintiffs’ legal rights before the rushed removals mooted their
             cases and thrust them into a Salvadorean prison. So success in
             this suit would not secure Plaintiffs’ release from U.S.
             custody—the remedy they could secure through habeas
             petitions. Success would maintain their federal custody.

                 Even on its own terms, LoBue has no bearing on this case.
             LoBue concerned extradition, not removal, and this court
             specifically distinguished an extradition challenge from
             Supreme Court precedent “allowing an alien subject to a
             deportation order to seek relief by way of a declaratory
             judgment action.” 82 F.3d at 1083.

                                             IV

                  On top of the threshold jurisdictional barriers to our
             appellate jurisdiction and to the government’s ability to
             succeed on the merits of its own jurisdictional objections to the
             district court’s TROs, the other stay factors weigh against the
             government.

                 One of the “most critical” factors for a stay is “whether the
             applicant will be irreparably injured[.]” Nken, 556 U.S. at 434.
             The government’s argument for irreparable injury does not
             hold up on this record.

                  According to the government, the district court’s TROs
             interfere with the President’s authority to execute the law and
             to oversee foreign affairs. Yet the government conceded at oral
             argument that all Plaintiffs in the class are entitled to submit
             habeas petitions in the district of their confinement challenging
USCA Case #25-5068     Document #2107881               Filed: 03/26/2025       Page 69 of 93




                                           39
             whether they are members of TdA. Oral Arg. 19:51-20:14,
             56:16-56:26, 1:41:55-1:42:28, 1:42:50-1:43:12.           Even
             assuming Plaintiffs’ claims to remain in detention could be
             pressed under habeas, any such habeas proceeding would allow
             them to obtain the same relief they seek here—review of their
             eligibility for removal under the Proclamation. And so the
             government’s preference for habeas proceedings would
             produce at least the same restriction on the President’s
             authority to remove the Plaintiffs that the TROs impose.

                  In other words, the Executive Branch’s asserted injury is
             actually just a dispute over which procedural vehicle is best
             situated for the Plaintiffs’ injunctive and declaratory claims.
             The Executive Branch prefers 300 or more individual habeas
             petitions in Texas and wherever else Plaintiffs are detained to
             this class APA case in Washington D.C. Regardless of whether
             the government is entitled to a different venue and procedural
             vehicle, an assertion of a “procedural right in vacuo” does not
             amount to irreparable injury warranting immediate emergency
             relief. Summers v. Earth Island Inst., 555 U.S. 488, 496
             (2009).

                  In addition, the TROs create no risk to the public. The
             TROs only prevent the Executive from removing alleged
             members of TdA who are already detained under the AEA.
             Second Minute Order (Mar. 15, 2025). The Executive remains
             free to take TdA members off the streets and keep them in
             detention. The Executive can also deport alleged members of
             TdA under the INA in expedited fashion if the government can
             prove they committed a serious crime, 8 U.S.C. § 1228(a), or
             are terrorists, 8 U.S.C. §§ 1531-1537.

                 Finally, there is the more basic question of whether any of
             the Plaintiffs are, in fact, members of TdA. The Plaintiffs
             vigorously argue that they have nothing to do with this gang.
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025         Page 70 of 93




                                              40
             See ECF No. 3-3 (J.G.G. Decl.) ¶ 3; ECF No. 44-11 (Carney
             Decl. for G.F.F.) ¶ 3; ECF No. 44-12 (Smyth Decl. for J.A.V.)
             ¶¶ 9, 11; ECF No. 3-6 (W.G.H. Decl.) ¶ 12; ECF No. 44-9
             (Shealy Decl. for J.G.O.) ¶ 4. 9

                  At the same time, the injury to the Plaintiffs is great and
             truly irreparable. They face immediate removal on grounds
             that they say have no application to them and yet their claims
             have never been heard. And the removals under the AEA thus
             far have been not to their home countries, but directly into a
             Salvadorean jail reported to have a notorious reputation for
             human rights abuses and disappearances. ASSOCIATED PRESS,
             What to know about CECOT, El Salvador’s mega-prison for
             gang members, (Mar. 17, 2025), https://perma.cc/7WER-
             NB7G.

                  Worst of all, the government has confessed that its
             preference that Plaintiffs use habeas corpus to challenge their
             eligibility for AEA removal is a phantasm: The government’s
             position at oral argument was that, the moment the district court
             TROs are lifted, it can immediately resume removal flights
             without affording Plaintiffs notice of the grounds for their
             removal or any opportunity to call a lawyer, let alone to file a
             writ of habeas corpus or obtain any review of their legal
             challenges to removal. Oral Arg. 1:44:04-1:45:51. It is
             irreparable injury to reduce to a shell game the basic lifeline of
             due process before an unprecedented and potentially
             irreversible removal occurs.

                 9
                    The lack of irreparable injury to the government is also the
             reason for denying the government’s request for mandamus relief.
             Mandamus is inappropriate when the normal appellate process is
             adequate to address the government’s injury. In re Flynn, 973 F.3d
             74, 78 (D.C. Cir. 2020) (en banc) (“A petition for a writ of mandamus
             ‘may never be employed as a substitute for appeal.’”) (quoting Will
             v. United States, 389 U.S. 90, 97 (1967).
USCA Case #25-5068      Document #2107881                 Filed: 03/26/2025         Page 71 of 93




                                             41

                                              V

                  Over one-hundred-and-fifty years ago, the Supreme Court
             addressed whether civilian courts could be closed just because
             the Executive declared an emergency. The Court said no.

                 The Constitution of the United States is a law for
                 rulers and people, equally in war and in peace, and
                 covers with the shield of its protection all classes of
                 men, at all times, and under all circumstances. No
                 doctrine, involving more pernicious consequences,
                 was ever invented by the wit of man than that any of
                 its provisions can be suspended during any of the
                 great exigencies of government.

             Ex parte Milligan, 71 U.S. 2, 120-121 (1866).

                  The government’s removal scheme denies Plaintiffs even
             a gossamer thread of due process, even though the government
             acknowledges their right to judicial review of their
             removability. The district court’s temporary restraining orders
             have appropriately frozen the status quo until an imminent
             motion for preliminary injunction is filed. The district court
             acted well within its discretion in doing so. We lack
             jurisdiction to review the government’s motion to stay those
             orders, and the government’s jurisdictional objections to the
             district court’s actions do not raise a substantial question at this
             stage.

                 For all of the foregoing reasons, I agree that the
             government’s motions for stays must be denied.
USCA Case #25-5068      Document #2107881                   Filed: 03/26/2025          Page 72 of 93




             WALKER, Circuit Judge, dissenting:

                  Tren de Aragua is a violent criminal organization linked to
             Venezuela. The President invoked the Alien Enemies Act of
             1798 to remove its members from our country.1 Venezuelan
             nationals alleged to be members of this group were swiftly sent
             to a detention center in Texas for summary removal.2

                 Five individuals confined at that Texas facility quickly
             sued the President here in Washington, D.C. They say that the
             President exceeded his authority under the Act. They also say
             they’re not members of Tren de Aragua.3

                  The two sides of this case agree on very little. But what is
             at this point uncontested is that “individuals identified as alien
             enemies . . . may challenge that status in a habeas petition.”4


             1
               Presidential Proclamation, Invocation of the Alien Enemies Act
             Regarding the Invasion of The United States by Tren De Aragua
             (March 15, 2025) (the “Proclamation”) (citing the Alien Enemies
             Act, 50 U.S.C. § 21, et seq., 1 Stat. 577, 577-78 (1798)).
             2
               See Complaint, ECF 1, at 3-5 ¶¶ 9-13, J.G.G. et al. v. Trump, et al.,
             No. 1:25-cv-00766 (D.D.C. Mar. 15, 2025).
             3
               See Plaintiffs’ Response to Motion to Vacate TRO, ECF 44, at 7
             (“all five of the named Plaintiffs dispute that they are members of the
             TdA [i.e., Tren de Aragua].” (citing declarations)).
             4
               Government’s Reply in Support of Emergency Appeal, at 14; see
             also Oral Arg. at 17:38 – 21:33, available at
             youtube.com/live/4DoTLGECQSU.
                In other words, according to the Government, the door to the
             federal courthouse in Brownsville, Texas is open, and the
             Government has not represented that it will affirmatively prevent a
             detainee from seeking emergency habeas relief in his district of
             confinement if he tries to do so. In fact, despite the Government’s
             haste, and notwithstanding Plaintiffs’ allegations of underhanded
             conduct, deportees have managed nonetheless to file petitions for
             habeas corpus both here and in the Southern District of Texas. Cf.
USCA Case #25-5068      Document #2107881                    Filed: 03/26/2025           Page 73 of 93




                                                2

                  The problem for the Plaintiffs is that habeas claims must
             be brought in the district where the Plaintiffs are confined. For
             the named Plaintiffs at least, that is the Southern District of
             Texas. Because the Plaintiffs sued in the District of Columbia,
             the Government is likely to succeed in its challenge to the
             district court’s orders.

                  The Government has also shown that the district court’s
             orders threaten irreparable harm to delicate negotiations with
             foreign powers on matters concerning national security. And
             that harm, plus the asserted public interest in swiftly removing
             dangerous aliens, outweighs the Plaintiffs’ desire to file a suit
             in the District of Columbia that they concede they could have
             brought in Texas — and that longstanding legal principles
             regarding habeas require them to have brought in Texas.

                  The Government has met its burden, so we should grant
             the stay pending appeal.

               I. The District Court’s Orders Are Appealable Orders.

                 We must have jurisdiction before we consider an appeal.
             Temporary restraining orders ordinarily aren’t appealable.5
             But the district court’s extraordinary orders here are.


             I.M. v. United States Customs & Border Protection, 67 F.4th 436,
             444 (D.C. Cir. 2023) (brief custody of a few weeks would not “all
             but prevent judicial review of expedited removal orders”).
             5
               OPM v. American Federation of Government Employees, AFL-
             CIO, 473 U.S. 1301, 1303-04 (1985) (“denials of temporary
             restraining orders are ordinarily not appealable”).
               It’s fair to ask why this is “the established rule.” Id. After all, we
             have appellate jurisdiction to review orders “granting . . . injunctions,
             or refusing to dissolve or modify injunctions,” 28 U.S.C.
             § 1292(a)(1), and “TROs almost certainly fall within the historical
USCA Case #25-5068      Document #2107881                    Filed: 03/26/2025          Page 74 of 93




                                                3

                  Operating under intense time pressure, the district court
             granted a temporary restraining order preventing the removal
             of the named plaintiffs, then quickly certified a class of “all
             noncitizens in U.S. custody who are subject to the . . .
             Proclamation,”6 and then granted a temporary restraining order
             that “enjoined” the Government “from removing members of
             [that] class.”7 Together, these orders amounted to an injunction
             that halted the President’s effort to implement his Proclamation
             — the success of which depends on “delicate negotiations”
             with “foreign interlocutors.”8

                 The district court’s extraordinary injunctions are
             appealable. Although the district court “styled” each of them
             as “a temporary restraining order,” that “label . . . is not
             decisive.”9 What matters is what it did. And far from “merely

             and modern definitions of ‘injunction.’” Tyler B. Lindley, Morgan
             Bronson & Wesley White, Appealing Temporary Restraining Orders
             (BYU Law Research Paper No. 25-06), 77 Fla. L. Rev. (forthcoming
             2025) (manuscript at 3), https://perma.cc/Q2JB-FC93. It appears
             likely that the rule is no product of “textualist reasoning,” but rather
             a vestige of case law dissociated from important statutory history.
             Id. Even so, we’re bound by that case law until the Supreme Court
             tells us otherwise.
             6
               Minute Order Granting Motion for Class Certification.
             7
               Id.
             8
               Government’s Emergency Motion for a Stay Pending Appeal at 26-
             27 ¶¶ 2-4 (Declaration of Michael G. Kozak).
             9
                Adams v. Vance, 570 F.2d 950, 953 (D.C. Cir. 1978) (quoting
             Wright & Miller, Federal Practice and Procedure § 2962, at 619
             (1973)).
                 Relatedly, district courts have halted executive actions under the
             guise of “administrative stays.” See, e.g., Minute Order, Dellinger
             v. Bessent, No. 25-cv-385 (D.D.C. Feb. 10, 2025) (administrative
             stay reinstating terminated official). But again, what matters is not
             how an order is labeled, but how it functions. These so-called
USCA Case #25-5068      Document #2107881                    Filed: 03/26/2025          Page 75 of 93




                                                4

             preserv[ing] the status quo pending further proceedings,” the
             district court’s orders affirmatively interfered with an ongoing,
             partially overseas, national-security operation.10

                  In Adams v. Vance, we held that when a district court’s
             temporary order threatens “intrusion on executive discretion in
             the field of foreign policy,” its order is immediately
             reviewable.11 That’s the case here. The district court told the
             Executive Branch to immediately stop executing a plan to
             repatriate or remove Venezuelan nationals pursuant to
             “[a]rrangements [that] were recently reached” with El Salvador
             and “representatives of the Maduro regime.”12 Not only that,
             the district court “commanded an unprecedented action” from
             the bench: The district judge ordered aircraft to be turned
             around mid-flight in the middle of this sensitive ongoing
             national-security operation.13



             “‘administrative stays’ are not actually stays at all, administrative or
             otherwise. They are injunctions.” Chris D. Moore, So-Called
             “Administrative Stays” in Trump 2.0, 104 Tex. L. Rev. Online
             (forthcoming 2025) (manuscript at 3), https://perma.cc/6DUP-9N7P.
             10
                Adams, 570 F.2d at 952.
             11
                Id.
             12
                Kozak Declaration ¶ 3.
             13
                Class Certification Hearing Tr. at 43:12-15, 43:18-19 (Mar. 15,
             2025) (“[A]ny plane containing [putative plaintiff class members]
             that is going to take off or is in the air needs to be returned to the
             United States . . . . [T]hose people need to be returned to the United
             States. . . . [T]his is something that you need to make sure is complied
             with immediately.”); cf. Al-Bihani v. Obama, 619 F.3d 1, 12 n.1
             (D.C. Cir. 2010) (en banc) (Kavanaugh, J., concurring) (“Even when
             this Court might disagree with a District Court decision, that
             disagreement is with respect and appreciation for the dedicated work
             of the District Court on these matters.”).
USCA Case #25-5068      Document #2107881                 Filed: 03/26/2025         Page 76 of 93




                                              5

                  “When an order directs action so potent with consequences
             so irretrievable, we provide an immediate appeal to protect the
             rights of the parties.”14 The district court’s orders here threaten
             an “irreversibl[e] altering [of] the delicate diplomatic balance”
             that high-level Executive officials recently struck with foreign
             powers.15

                  In a sworn declaration, the Senior Bureau Official for
             Western Hemisphere Affairs tells us, based on his “extensive
             experience since 1971 engaging in” diplomacy involving “El
             Salvador, Venezuela, and other countries in the region,” that
             there is a serious risk that our diplomatic counterparts will
             “change their minds regarding their willingness to accept
             certain individuals associated with [Tren de Aragua].”16 He
             also flags the risk that foreign negotiators will “seek to
             leverage” the delay “as an ongoing issue.”17

                 As we’ve cautioned before, “[c]ourts must beware
             ‘ignoring the delicacies of diplomatic negotiation.’”18 So we
             can’t ignore a declaration warning that these “harms could arise


             14
                Adams, 570 F.2d at 953; see also Dellinger v. Bessent, No. 25-
             5028, 2025 WL 559669, at *13 (D.C. Cir. Feb. 15, 2025) (Katsas, J.,
             dissenting) (“TROs themselves sometimes inflict irreparable injury,
             and in those cases an immediate appeal is available to avoid it.”).
             15
                Adams, 570 F.2d at 953; see Kozak Declaration ¶¶ 2-3 (explaining
             that Secretary of State and other high-ranking White House and State
             Department officials “negotiated at the highest levels with the
             Government of El Salvador and with Nicolas Maduro and his
             representatives in Venezuela in recent weeks”).
             16
                Kozak Declaration ¶¶ 1, 4.
             17
                Id. ¶ 4.
             18
                Adams, 570 F.2d at 954 (quoting Mitchell v. Laird, 488 F.2d 611,
             616 (D.C. Cir. 1973)).
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025          Page 77 of 93




                                               6

             even in the short term.”19 It’s no answer, therefore, to say that
             the district court’s temporary restraining orders last only 14
             days (or perhaps another 14 days after that).20 That’s more than
             enough time to frustrate fast-moving international negotiations.

                 In sum, the “extraordinary character of the order[s] at issue
             here . . . warrant[ ] immediate appellate review.”21

                                          *    *    *

                   There remains one procedural wrinkle to iron out before
             turning to the merits. A stay applicant must “ordinarily move
             first in the district court” for a stay pending appeal.22 But here
             the Government didn’t do so.

                  That doesn’t preclude our review. The Federal Rules of
             Appellate Procedure expressly provide that an applicant may
             bypass that step if it shows “that moving first in the district
             court would be impracticable.”23 Here, the Government cited
             extremely exigent circumstances that made it “impracticable”
             to move first in the district court.24 And it filed emergency
             motions in our Court mere hours after each temporary
             restraining order issued — a testament to its view of the harm
             19
                Kozak Declaration ¶ 4.
             20
                See Fed. R. Civ. P. 65(b)(2) (district court may, “for good cause,”
             “extend” a 14-day TRO for “a like period”).
             21
                Dellinger, 2025 WL 559669, at *12 (Katsas, J., dissenting).
             22
                Fed. R. App. P. 8(a)(1)(A).
             23
                Id. R. 8(a)(2)(A)(ii); see also D.C. Cir. R. 8(a) (“motion seeking
             emergency relief must state whether such relief was previously
             requested from the district court and the ruling on that request”).
             24
                See First Emergency Stay Motion, at 4 n.1 (citing the “importance
             of the issues involved” and “the fast-moving nature of this case”);
             Second Emergency Stay Motion, at 8 n.1 (same).
USCA Case #25-5068      Document #2107881                    Filed: 03/26/2025          Page 78 of 93




                                                7

             that the temporary restraining orders inflict on the Executive
             Branch every hour that they remain in effect.25 The
             Government’s sidestepping of the district court under these
             circumstances is no impediment to our review.26

                  Because this appeal is properly before us, I now consider
             the stay factors, beginning with the Government’s likelihood
             of success on the merits.27

              II. The Government Is Likely To Succeed On The Merits
                 Because The Plaintiffs Cannot Sue In The District of
                                      Columbia.

                 The Government is likely to succeed on appeal for a
             technical, but important, reason: The Plaintiffs’ claims sound
             in habeas, and habeas petitions must be brought where
             detainees are held. For the five named Plaintiffs, that is the
             Southern District of Texas.



             25
                The district court issued the first TRO (applicable only to the
             named plaintiffs) at 9:40 AM, and the Government filed its 15-page
             emergency stay motion at 3:05 PM — less than six hours later. The
             district court’s second TRO issued at 7:25 PM, and the Government
             filed its 22-page emergency stay motion, plus a two-page State
             Department declaration, at 1:04 AM — less than five hours later.
             26
                Even if the Government’s approach were procedurally irregular,
             the Plaintiffs have forfeited that argument by failing to raise it. See
             generally Plaintiffs’ Brief in Response to Stay Motion.
             27
                Nken v. Holder, 556 U.S. 418, 425-26 (2009) (stay factors: “(1)
             whether the stay applicant has made a strong showing that he is likely
             to succeed on the merits; (2) whether the applicant will be irreparably
             injured absent a stay; (3) whether issuance of the stay will
             substantially injure the other parties interested in the proceeding; and
             (4) where the public interest lies”).
USCA Case #25-5068       Document #2107881                     Filed: 03/26/2025           Page 79 of 93




                                                 8

                  A. The Plaintiffs’ Proper Cause Of Action Is A Habeas
                                         Petition.

                 The Plaintiffs’ complaint raises various claims for relief.
             But what’s their “cause of action”?28 On what basis do they
             invoke federal courts’ remedial power?

                  Many of the Plaintiffs’ claims rely on the Administrative
             Procedure Act. The APA provides a cause of action to anyone
             “suffering legal wrong because of agency action.”29 The
             Plaintiffs allege that the President’s Proclamation is “contrary
             to law” under the APA, because it stretches the meaning of the
             Alien Enemies Act and violates several other statutes.30




             28
                Cf. Trudeau v. FTC, 456 F.3d 178, 188 n.15 (D.C. Cir. 2006) (“a
             ‘cause of action’ [is] the legal authority (e.g., the APA) that permits
             the court to provide redress for a particular kind of ‘claim.’”).
             29
                See 5 U.S.C. § 702 (“A person suffering legal wrong because of
             agency action, or adversely affected or aggrieved by agency action
             within the meaning of a relevant statute, is entitled to judicial review
             thereof.”).
                Plaintiffs’ eighth claim for relief asserts their rights under the Fifth
             Amendment’s Due Process Clause. Complaint, ECF 1, at 22 ¶¶ 101-
             04. Though “we have long held that federal courts may in some
             circumstances grant injunctive relief . . . with respect to violations of
             federal law by federal officials,” that cause of action is not available
             when a habeas petition is available. Armstrong v. Exceptional Child
             Center, Inc., 575 U.S. 320, 326-27 (2015); see also Preiser v.
             Rodriguez, 411 U.S. 475, 489-90 (1973).
             30
                Complaint, ECF 1, at 17 ¶¶ 71-73 (citing 5 U.S.C. § 706(2)(A));
             id. at 19-20 ¶¶ 97-100 (same); id. at 19 ¶ 83 (same); id. at 17-18 ¶ 86
             (same); id. at 18 ¶¶ 78-79 (same); id. at 20 ¶ 90 (same).
USCA Case #25-5068      Document #2107881                    Filed: 03/26/2025          Page 80 of 93




                                                9

             Implementing the Proclamation, they add, is “arbitrary and
             capricious” — the quintessential APA challenge.31

                  But the APA is not the right vehicle for two reasons. First,
             it provides review only when there is “no other adequate
             remedy in a court.”32 As I will explain below, another avenue
             for review is available here — a petition for habeas corpus.

                   Second, the Proclamation here is not an “agency action.”
             It is a Presidential Proclamation. And the “President is not an
             agency.”33 So the APA does not authorize review of the
             Proclamation. Where the “final action complained of is that of
             the President” — here, the President’s Proclamation under the
             Alien Enemies Act — the APA does not provide a basis for
             judicial review.34

                  How are the Plaintiffs supposed to bring their claims for
             relief, if not via the APA? The answer appears in the very title
             of their own complaint: “PETITION FOR WRIT OF HABEAS



             31
                Id. at 20-21 ¶¶ 93-95 (still citing 5 U.S.C. § 706(2)(A)). Plaintiffs
             made sure to “except Defendant Trump” from this claim for relief,
             which is titled “Violation of the Administrative Procedure Act.”
             32
                5 U.S.C. § 704.
             33
                Franklin v. Massachusetts, 505 U.S. 788, 796 (1992).
             34
                Id.
                 The Plaintiffs might respond that part of their complaint
             challenges lower-level decisions by executive officials about
             whether a particular plaintiff is a member of Tren de Aragua — a
             decision not made by the President. But that type of challenge is
             unique to each plaintiff, so it would seem that a class action is a poor
             vehicle for that type of challenge.
USCA Case #25-5068      Document #2107881                 Filed: 03/26/2025         Page 81 of 93




                                             10

             CORPUS.”35 In that complaint, “Plaintiffs respectfully pray
             this Court to . . . Grant a writ of habeas corpus to Plaintiffs that
             enjoins Defendants from removing them under the [Alien
             Enemies Act].”36

                  Regardless of whether that would have been a
             paradigmatic habeas claim when habeas was first developed, it
             is now. The Plaintiffs face imminent removal by Proclamation
             of the Executive. They resort to court to challenge the legal
             and factual grounds for their threatened removal. And if they
             win the argument, they cannot be summarily removed.

                   “At its historical core, the writ of habeas corpus” serves
             “as a means of reviewing the legality of Executive detention.”37
             Indeed, its most central “historic purpose” was “to relieve
             detention by executive authorities without judicial trial.”38
             This “great and efficacious writ” did so by requiring the
             custodian to “produce the body of the prisoner” to the “judge
             or court” and provide a “satisfactory excuse” for the prisoner’s
             detention.39




             35
                Complaint, ECF 1, at 1; see 28 U.S.C. § 2241 (federal habeas
             statute).
             36
                Id. at 21.
             37
                INS v. St. Cyr, 533 U.S. 289, 301 (2001), abrogated on other
             grounds by statute, see REAL ID Act of 2005, 119 Stat. 310, 8
             U.S.C. § 1252(a)(5); Nasrallah v. Barr, 590 U.S. 573, 580 (2020)
             (acknowledging St. Cyr’s statutory abrogation).
             38
                St. Cyr, 533 U.S. at 301 (quoting Brown v. Allen, 344 U.S. 443,
             533 (1953)) (emphasis added).
             39
                 Sir William Blackstone, COMMENTARIES ON THE LAWS OF
             ENGLAND 687-88 (Chase, ed. 1882).
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025          Page 82 of 93




                                              11

                  As Blackstone put it, the great writ remedies “all manner
             of illegal confinement.”40 So habeas is used to challenge the
             place of confinement. Consider In re Bonner.41 There, the
             Supreme Court granted habeas to a petitioner who was subject
             to imprisonment on a valid jury verdict.42 Bonner’s only
             complaint was that he was “unlawfully deprived of his liberty”
             by his placement in the wrong penitentiary. (By statute, he
             should have been imprisoned somewhere else.) That Bonner
             could (and should) have been confined elsewhere was no
             impediment to seeking a writ of habeas corpus. Indeed, the
             Court even said that “[t]o deny the writ of habeas corpus in
             such a case” would be “a virtual suspension of [the writ].”43
             After all, “a place of confinement challenge . . . unquestionably
             sounds in habeas.”44

             40
                Id. at 687 (emphasis added); see also DHS v. Thuraissigiam, 140
             S. Ct. 1959, 1981 (2020) (“The writ of habeas corpus as it existed at
             common law provided a vehicle to challenge all manner of detention
             by government officials, and the Court had held long before that the
             writ could be invoked by aliens already in the country who were held
             in custody pending deportation.”).
                 As an aside, Thuraissigiam is of no help to the Plaintiffs here.
             Thuraissigiam was not making a core habeas challenge to his
             removal; instead, he was seeking affirmative administrative relief.
             See Thuraissigiam, 140 S. Ct. at 1969-71, 1974, 1981 (rejecting a
             petitioner’s “very different attempted use of the writ” to seek “quite
             different relief” than traditionally available in habeas — namely, the
             “authorization for an alien to remain in a country other than his own”
             and “to obtain administrative or judicial review leading to that
             result”).
             41
                151 U.S. 242, 262 (1894).
             42
                See In re Bonner, 151 U.S. 242, 262 (1894).
             43
                Id. at 259-60 (emphasis added).
             44
                Aamer v. Obama, 742 F.3d 1023, 1035 (D.C. Cir. 2014) (emphasis
             added); see, e.g., Creek v. Stone, 379 F.2d 106, 109 (D.C. Cir. 1967)
USCA Case #25-5068      Document #2107881                   Filed: 03/26/2025          Page 83 of 93




                                               12

                  Another use of habeas is to challenge transfer from one
             place of detention to a different location. For instance, in
             Kiyemba v. Obama, Guantanamo detainees challenged — in
             habeas — their anticipated transfer to another country.45 We
             deemed “a potential transfer out of the jurisdiction” to be “a
             proper subject of statutory habeas relief,” and we rejected an
             argument by the Government that “the right to challenge a
             transfer is ‘ancillary’ to and not at the ‘core’ of habeas corpus
             relief.”46    If habeas was the proper cause of action
             there — where detainees feared continued detention after
             removal — habeas is all the more the proper cause of action
             here, where the Plaintiffs will continue to be detained after
             removal.47

                  To be sure, Kiyemba did not grant habeas relief. But that
             is because the detainees failed “on the merits of their present
             claim.”48 That decision was controlled by Munaf v. Geren.49

                Munaf was in Iraq and had broken Iraqi law, and the U.S.
             was planning to transfer him from U.S. custody to Iraqi

             (“habeas corpus is available not only to an applicant who claims he
             is entitled to be freed of all restraints, but also to an applicant who
             protests his confinement in a certain place.” (emphases added)); id.
             at 108-11 (habeas appropriate for statutory challenge to convicted
             juvenile’s confinement in a receiving home rather than an
             appropriate psychiatric facility); Miller v. Overholser, 206 F.2d 415
             (D.C. Cir. 1953) (habeas petition brought by a man confined to a
             ward for the criminally insane who said he belonged instead in an
             institution for the mentally ill).
             45
                561 F.3d 509, 511 (D.C. Cir. 2009).
             46
                Id. at 513.
             47
                See id. (“likely” to be detained).
             48
                Id. at 514.
             49
                553 U.S. 674 (2008).
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025         Page 84 of 93




                                             13

             custody. The Supreme Court first held that the lower court had
             habeas jurisdiction. The Court then held that, on the merits, the
             habeas claim failed because the Court could not interfere with
             a foreign criminal system. In other words, on the merits of
             whether the transfer was lawful, it was lawful because Iraq had
             “exclusive jurisdiction to punish offenses against its laws
             committed within its borders.”50

                  Munaf’s reason for denying the habeas petition was not
             that habeas cannot be used to enjoin a detainee’s transfer as a
             general matter. If habeas was not the proper vehicle to bring
             the merits claim opposing the transfer in Munaf, the Court
             would not have been able to do what it did — reach the merits
             of that habeas claim.51

                  Myriad cases also show that challenges to extradition and
             deportation are properly brought in habeas. In LoBue v.
             Christopher, we said habeas was a vehicle to challenge
             extradition statutes, as had the Supreme Court over a century
             earlier.52 Regardless of changes to immigration statutes,
             habeas has long been used to bring removal challenges —
             indeed, “[u]ntil the enactment of the 1952 Immigration and
             Nationality Act,” “bringing a habeas corpus action in district


             50
                Id. at 697.
             51
                Cf. In re Bonner, 151 U.S. 242, 262 (1894) (granting habeas writ
             to petitioner who claimed he was imprisoned in the wrong
             penitentiary).
             52
                82 F.3d 1081, 1082-84 (D.C. Cir. 1996); Ward v. Rutherford, 921
             F.2d 286, 288 (D.C. Cir. 1990) (Ginsburg, R.B., J.) (“actions taken
             by magistrates in international extradition matters are subject to
             habeas corpus review by an Article III district judge”); Benson v.
             McMahon, 127 U.S. 457, 462 (1888) (habeas used to challenge to
             extradition).
USCA Case #25-5068      Document #2107881                    Filed: 03/26/2025           Page 85 of 93




                                                14

             court” was “the sole means by which an alien could test the
             legality of his or her deportation order.”53

                  The upshot is that habeas and removal challenges go hand-
             in-glove, and statutory developments since the late nineteenth
             century do not affect this key point.54 That’s because the
             summary removals challenged here are premised upon the
             President’s authority under an eighteenth-century law. That
             law has not been repealed, expressly or impliedly, by later
             immigration laws. And the specific controls the general.55

                 It is noteworthy that the few Alien Enemies Act cases on
             the books almost invariably arose through habeas petitions:
             Both of the two Alien Enemies Act cases to reach the Supreme
             Court — Ludecke v. Watkins and Ahrens v. Clark — arose via
             habeas petitions.56 In Ahrens, for example, the Supreme Court
             held that District of Columbia federal courts had no jurisdiction
             to hear habeas claims challenging confinement in New York
             for deportation to Germany under the Alien Enemies Act.57
             53
                St. Cyr, 533 U.S. at 306; see also Heikkila v. Barber, 345 U.S. 229,
             235 (1953) (rejecting challenge to deportation order under the APA
             because plaintiff “may attack a deportation order only by habeas
             corpus”).
             54
                 Cf. DHS v. Thuraissigiam, 140 S. Ct. 1959, 1971-75 (2020)
             (looking to the historical understanding of the scope of the writ as
             the touchstone for Suspension Clause analysis).
             55
                 See Antonin Scalia & Bryan A. Garner, READING LAW: THE
             INTERPRETATION OF LEGAL TEXTS 183 (2012).
             56
                See generally Ludecke v. Watkins, 335 U.S. 160 (1948); Ahrens v.
             Clark, 335 U.S. 188 (1948).
             57
                335 U.S. at 192-93 (“the jurisdiction of the District Court to issue
             the writ in cases such as this [i.e., AEA habeas petitions] is restricted
             to those petitioners who are confined or detained within the territorial
             jurisdiction of the court”). A later case, Braden v. 30th Judicial
             Circuit Court of Kentucky, 410 U.S. 484 (1973), overturned part of
USCA Case #25-5068      Document #2107881                   Filed: 03/26/2025          Page 86 of 93




                                               15

             Likewise, for cases in the lower courts, habeas was often the
             vehicle for aliens designated as enemies to challenge their
             designation and prevent their removal.58

                 That may explain why the Plaintiffs here titled their
             complaint a “petition for habeas corpus,” and asked the district
             court to “[g]rant a writ of habeas corpus . . . that enjoins
             Defendants from removing them under the [Alien Enemies
             Act].”59

              B. The District Of Columbia Is Not The Proper Location
              For This Suit Because Of The Habeas-Channeling Rule
                    And Habeas’ District-of-Confinement Rule.

                 At the district court’s suggestion, the Plaintiffs voluntarily
             dismissed their habeas claims. That’s because habeas claims
             must be brought where the petitioner is confined, and the
             Plaintiffs are not confined in the District of Columbia.

                 But merely dismissing the claims — even erasing the
             words ‘habeas corpus’ from the complaint — does not rescue
             the Plaintiffs’ complaint. That’s because of two important



             Ahrens, but Rumsfeld v. Padilla, 542 U.S. 426 (2004), makes clear
             that Ahrens’s core holding remains good law. See Padilla, 542 U.S.
             at 443 (“for core habeas petitions challenging present physical
             confinement, jurisdiction lies in only one district: the district of
             confinement”).
             58
                See, e.g., Kaminer v. Clark, 177 F.2d 51 (D.C. Cir. 1949); United
             States ex rel. Schlueter v. Watkins, 67 F. Supp. 556 (S.D.N.Y.), aff’d,
             158 F.2d 853 (2d Cir. 1946). But cf. Citizens Protective League v.
             Clark, 155 F.2d 290 (D.C. Cir. 1946) (claims not characterized as
             habeas, but habeas issue neither raised nor addressed).
             59
                Complaint, ECF 1, at 1, 23 ¶ f (Prayer for Relief).
USCA Case #25-5068      Document #2107881                    Filed: 03/26/2025          Page 87 of 93




                                               16

             rules: the “habeas-channeling rule” and the “district of
             confinement rule.”

                  First, the “habeas-channeling rule” requires core habeas
             claims, like the Plaintiffs’ claims, to be brought in habeas.60
             Importantly, that means they must bring their claims in
             compliance with habeas’s unique procedural requirements. As
             the Supreme Court has explained, if plaintiffs could resort to
             “the simple expedient of putting a different label on their
             pleadings” — framing their challenges as § 1983 claims, for
             instance — they could effectively “evade” these procedural
             requirements.61 The habeas-channeling rule shuts the door to
             that kind of gamesmanship.62

                 The second relevant habeas rule is the “district of
             confinement rule.”63 That rule says that habeas claims must be

             60
                See Nance v. Ward, 142 S. Ct. 2214, 2222 (2022) (“this Court has
             held that an inmate must proceed in habeas when the relief he seeks
             would necessarily imply the invalidity of his conviction or sentence”
             (cleaned up) (emphasis added)); Preiser v. Rodriguez, 411 U.S. 475,
             489-90 (1973) (plaintiffs can’t “evade” habeas procedural
             requirements “by the simple expedient of putting a different label on
             their pleadings”); Dufur v. United States Parole Commission, 34
             F.4th 1090, 1095 (D.C. Cir. 2022) (“[T]he sole remedy for assertedly
             unlawful incarceration is through habeas corpus.”).
             61
                 Preiser, 411 U.S. at 489-90; see Dafur, 34 F.4th at 1095
             (explaining that Preiser’s “habeas-channeling rule” prevents
             detained plaintiffs from “create[ing] a workaround to the habeas
             requirements”).
             62
                Dafur, 34 F.4th at 1095.
             63
                Rumsfeld v. Padilla, 542 U.S. 426, 443 (2004) (“for core habeas
             petitions challenging present physical confinement, jurisdiction lies
             in only one district: the district of confinement.”); cf. I.M., 67 F.4th
             at 444 (“Creating exceptions to jurisdictional rules is a job for
             Congress, not the courts.”).
USCA Case #25-5068      Document #2107881                   Filed: 03/26/2025          Page 88 of 93




                                               17

             brought in the specific district where the plaintiff alleges that
             he is illegally confined.64 It’s “derived from the terms of the
             habeas statute,” which specifies that “District courts are limited
             to granting habeas relief ‘within their respective
             jurisdictions.’”65 And it “serves the important purpose of
             preventing forum shopping by habeas petitioners,” who could
             otherwise “name a high-level supervisory official as
             respondent and then sue that person wherever he is amenable
             to long-arm jurisdiction” — for example, in Washington,
             D.C.66

                  Though the extradition context is not perfectly analogous
             to the removal context, this court’s decision in LoBue v.
             Christopher illustrates these principles.67 The plaintiffs there
             wanted to stop the United States from extraditing them to
             Canada. They were held in the Northern District of Illinois, but
             they sued for declaratory relief and an injunction in the District
             of Columbia. We held that we lacked jurisdiction to consider
             their case because of “the availability . . . of habeas relief
             elsewhere.”68 We explained that the “availability of a habeas
             remedy in another district ousted us of jurisdiction over an

             64
                Id. Relatedly, “the proper respondent to a habeas petition is ‘the
             person who has custody over the petitioner,’” id. at 434 (cleaned up)
             (quoting 28 U.S.C. § 2242) — the “immediate custodian rule,” id. at
             446. “Together,” the district-of-confinement rule and the immediate-
             custodian rule “compose a simple rule that has been consistently
             applied in the lower courts . . . : Whenever a § 2241 habeas petitioner
             seeks to challenge his present physical custody within the United
             States, he should name his warden as respondent and file the petition
             in the district of confinement.” Id. at 447.
             65
                Id. (quoting 28 U.S.C. § 2241(a)).
             66
                Id.
             67
                82 F.3d 1081 (D.C. Cir. 1996).
             68
                Id. at 1082.
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025          Page 89 of 93




                                              18

             alien’s effort to pose a constitutional attack on his pending
             deportation by means of a suit for declaratory judgment.”69

                  There as here, the “plaintiffs’ focus [was] not explicitly on
             their present custody.”70 There as here, the plaintiffs tried to
             avoid the habeas-channeling rule by “claim[ing] that the nature
             of the relief requested is different here” than in habeas suits
             “since they have not formally sought a release from custody as
             in the habeas action. But we have rejected precisely such
             efforts to manipulate the preclusive effect of habeas
             jurisdiction.”71

                                          *    *    *

                 To sum up, the Plaintiffs’ claims sound in habeas because
             the Plaintiffs challenge the legal and factual bases for their
             imminent removal — a habeas claim. That claim must be
             brought in the district of confinement. The named Plaintiffs

             69
                Id.; see also id. at 1084 (addressing Kaminer v. Clark, 177 F.2d 51
             (D.C. Cir. 1949), and explaining that though Kaminer’s precise
             holding had been overruled in 1955, “Kaminer’s logic controls for
             persons who, like the plaintiffs, have access to the habeas remedy”).
             70
                Id. at 1083; see also Monk v. Secretary of Navy, 793 F.2d 364, 366
             (D.C. Cir. 1986) (“It is immaterial that Monk has not requested
             immediate release.”); cf. Wilkinson v. Dotson, 544 U.S. 74, 83 (2005)
             (“[W]e believe that a case challenging a sentence seeks a prisoner’s
             ‘release’ in the only pertinent sense: It seeks invalidation (in
             whole or in part) of the judgment authorizing the prisoner’s
             confinement; the fact that the State may seek a new judgment
             (through a new trial or a new sentencing proceeding) is beside the
             point . . . .” (emphasis added)).
             71
                LoBue, 82 F.3d at 1083; see also Monk, 793 F.2d at 366 (“He may
             not avoid the requirement that he proceed by habeas corpus by
             adding a request for relief that may not be made in a petition for
             habeas corpus.”); see also Ahrens, 335 U.S. 192-93.
USCA Case #25-5068     Document #2107881                 Filed: 03/26/2025         Page 90 of 93




                                             19

             here are all confined in Raymondville, Texas, which is in the
             federal Southern District of Texas. Therefore, that is where
             they must file.

                  III. The Government Satisfies The Remaining Stay
                                      Factors.

                  The Government has shown that it is irreparably harmed
             by the district court’s orders. As explained above, a career
             State Department official has declared that the orders “harm[]”
             the “foreign policy of the United States” by jeopardizing the
             status of “intensive and delicate” negotiations with El Salvador
             and the Maduro regime in Venezuela. The orders risk the
             possibility that those foreign actors will change their minds
             about allowing the United States to remove Tren de Aragua
             members to their countries. Even if they don’t change their
             minds, it gives them leverage to negotiate for better terms.
             “These harms could arise even in the short term.”72

                  Reinforcing the State Department official’s declaration is
             the irreparable harm that is all but inevitable when a court
             interferes with an ongoing national-security operation that is
             overseas or partially overseas. The Plaintiffs’ counsel at oral
             argument could not identify an order of that kind, outside of the
             habeas context, that survived appellate review.73 There are
             perhaps some that could be found, but they may be more
             cautionary tales than models to be emulated.74


             72
                Kozak Declaration ¶ 4.
             73
                Cf. Boumediene v. Bush, 553 U.S. 723 (2008) (habeas context).
             74
                Cf. Schlesinger v. Holtzman, 414 U.S. 1321, 1322 (1973) (staying
             order to halt the bombing of Cambodia); Ramirez de Arellano v.
             Weinberger, 745 F.2d 1500, 1550-51 (D.C. Cir. 1984) (Scalia, J.,
             dissenting) (“In Old Testament days, when judges ruled the people
USCA Case #25-5068      Document #2107881                    Filed: 03/26/2025           Page 91 of 93




                                                20

                  The Plaintiffs might respond that the same harm to foreign
             affairs and national security would follow from certification of
             a habeas class action in Texas. But the Government has not
             conceded that the Plaintiffs can certify a habeas class. All the
             Government has conceded is that individual habeas petitions
             can be brought in Texas. Whether the plaintiffs can certify a
             class and whether that class is entitled to relief is for a federal
             district court in Texas to decide.75




             of Israel and led them into battle, a court professing the belief that it
             could order a halt to a military operation in foreign lands might not
             have been a startling phenomenon. But in modern times, and in a
             country where such governmental functions have been committed to
             elected delegates of the people, such an assertion of jurisdiction is
             extraordinary. The court’s decision today reflects a willingness to
             extend judicial power into areas where we do not know, and have no
             way of finding out, what serious harm we may be doing. The case
             before us could not conceivably warrant such unprecedented
             action.”); see also Warren Weaver, Jr., Douglas Upholds Halt In
             Bombing But Is Overruled, N.Y. TIMES (Aug. 5, 1973).
             75
                Nken, 556 U.S. at 434.
                Whether Plaintiffs can seek habeas relief through a class action in
             the Southern District of Texas seems to be an open question for that
             court to resolve in the first instance. See Jennings v. Rodriguez, 583
             U.S. 281, 324 (2018) (Thomas, J., concurring) (“This Court has
             never addressed whether habeas relief can be pursued in a class
             action.”); St. Jules v. Savage, 512 F.2d 881 (5th Cir. 1975)
             (expressing no “view as to . . . the propriety of [a habeas] class
             action”); Lynn v. Davis, 2019 WL 570770 (S.D. Tex. 2019) (“Even
             if habeas claims may be pursued in a class action, . . . .” (emphasis
             added)). But cf. Gross v. Quarterman, No. CIV.A. H-04-136, 2007
             WL 4411755, at *3 (S.D. Tex. Dec. 17, 2007) (“a class action . . . is
             not available in a habeas petition.”) (dictum); Cook v. Hanberry, 592
             F.2d 248 (5th Cir. 1979).
USCA Case #25-5068      Document #2107881                  Filed: 03/26/2025          Page 92 of 93




                                              21

                  As for any irreparable harm to the Plaintiffs, they
             conceded at oral argument that they can seek all the relief in
             Texas that they have sought in the District of Columbia. So
             requiring them to sue in Texas does not impose on them
             irreparable harm.

                  Finally, as for the public interest, it favors the
             Government. As explained, sensitive matters of foreign affairs
             and national security are at stake.76 And whatever public
             interest exists for the Plaintiffs to have their day in court, they
             can have that day in court where the rules of habeas require
             them to bring their suit — in Texas.

                                       IV. Conclusion

                  Deportees are already petitioning for habeas corpus in
             Texas.77 At least one petitioner has already secured a hearing
             date in the Southern District of Texas, plus a TRO preventing
             his removal in the interim.78 According to the Government,
             that’s exactly what Plaintiffs here should have done and still
             can.

                 The district court here in Washington, D.C. — 1,475 miles
             from the El Valle Detention Facility in Raymondville, Texas
             76
                Cf. Kiyemba, 561 F.3d at 519 (Kavanaugh, J., concurring).
             77
                See, e.g., Petition for Writ of Habeas Corpus, ECF 1, Zacarias
             Matos v. Venegas et al., No. 1:25-CV-00057 (S.D. Tex. March 15,
             2025); Petition for Writ of Habeas Corpus, ECF 1, Gil Rojas v.
             Venegas et al., No. 1:25-CV-00056 (S.D. Tex. March 14, 2025).
             78
                Minute Order, ECF 4, Gil Rojas v. Venegas et al., No. 1:25-CV-
             00056 (S.D. Tex. March 14, 2025) (“IT IS ORDERED that
             Respondents shall NOT physically remove Petitioner Adrian Gil
             Rojas from the United States until the Court’s resolution of the writ
             of habeas corpus . . . .”); id. (ordering the Government to respond by
             this Friday, March 28, 2025, and setting a hearing for April 9, 2025).
USCA Case #25-5068      Document #2107881               Filed: 03/26/2025        Page 93 of 93




                                            22

             — is not the right court to hear the Plaintiffs’ claims. The
             Government likely faces irreparable harm to ongoing, highly
             sensitive international diplomacy and national-security
             operations. The Plaintiffs, meanwhile, need only file for
             habeas in the proper court to seek appropriate relief.

                  The Government has met its burden to make “a strong
             showing that [it] is likely to succeed on the merits” and that it
             “will be irreparably injured absent a stay.”79 The issuance of
             the stay will” not “substantially injure the other parties
             interested in the proceeding.”80 And “the public interest lies”
             with a stay.81 Therefore, I would grant its motion for a stay
             pending appeal.

                  I respectfully dissent.




             79
                Nken, 556 U.S. at 426.
             80
                Id.
             81
                Id.
